Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 1 of 79 PageID: 1009



                        SETTLEMENT AGREEMENT AND RELEASE

         Plaintiffs and Class Representatives Joon Bang, Razvan Victor Bengulescu, Gerald

  Bezems, Scott Crockett, Rifat Gorener, Christopher LeSieur, Lawrence Marcus, and Mikhail

  Suleymanov (“Plaintiffs” or “Class Representatives”), by and through their counsel, and

  Defendants, BMW of North America, LLC (“BMW NA”) and Bayerische Motoren Werke

  Aktiengesellschaft (“BMW AG”) (BMW NA and BMW AG collectively “Defendants”), by and

  through their counsel, hereby enter into this Settlement Agreement providing, subject to the

  approval of the Court, for the settlement of the claims herein described against Defendants (the

  “Settlement”).

         WHEREAS, Plaintiffs filed a putative class action against Defendants in the United States

  District Court for the District of New Jersey (Bang v. BMW of North America, LLC and Bavarian

  Motor Works, Civil Action No. 2:15-cv-06945-MCA-SCM) on September 18, 2015 (the

  “Action”); and

         WHEREAS, Plaintiffs filed a First Amended Complaint on December 21, 2015; and

         WHEREAS, Defendant, BMW NA, filed a Motion to Dismiss the First Amended

  Complaint on January 27, 2016; and

         WHEREAS, the parties entered in to a Stipulation setting a schedule for Plaintiffs filing of

  a Second Amended Complaint on March 14, 2016; and

         WHEREAS, Plaintiffs filed their Second Amended Complaint on March 21, 2016; and

         WHEREAS, Defendant, BMW NA, filed a Motion to Dismiss the Second Amended

  Complaint on April 21, 2016;

         WHEREAS, by Decision dated December 1, 2016, the Court denied Defendant BMW

  NA’s Motion to Dismiss the Second Amended Complaint; and




                                                  1
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 2 of 79 PageID: 1010



         WHEREAS, Defendant BMW NA filed it Answer to the Second Amended Complaint on

  January 16, 2017; and

         WHEREAS, the Parties exchanged discovery demands and responses, including

  interrogatory answers and responses to requests for the reproduction of documents; and

         WHEREAS, Plaintiffs and Defendants have conducted a thorough examination and

  investigation of the facts and law relating to the matters in the Action; and

         WHEREAS, the parties conducted multiple, full-day settlement negotiations with

  Mediator Bradley A. Winters, Esq. on August 3, 2017, October 2, 2017, and October 3, 2017; and

         WHEREAS, the Parties continued to confer with Mr. Winters towards a potential

  settlement between and after the respective mediation dates; and

         WHEREAS, after extensive, vigorous discussions and arm’s-length negotiations, and

  numerous exchanges of information and settlement proposals, the Parties were able to reach an

  agreement to resolve the Action and the disputes between them; and

         WHEREAS, for purposes of this settlement only, Plaintiffs and Defendants (the “Parties”)

  agree to the certification of a settlement class (“Class” or “Settlement Class”), subject to the

  Court’s approval, defined as follows:

                 All persons or entities in the United States, the District of Columbia,
                 and Puerto Rico who currently own or lease, or previously owned or
                 leased, model-year 2009 through 2014 BMW 5 Series, 6 Series, 7
                 Series, X5 or X6 vehicles that contain the N63 engine.

         WHEREAS, the Parties agree that the following persons and entities should be excluded

  from the Class: Defendants, as well as Defendants’ affiliates, employees, officers, and directors,

  attorneys, agents, insurers, third-party providers of extended warranty/service contracts,

  franchised dealers, independent repair/service facilities, fleet owners and operators, rental

  companies and vehicles, the attorneys representing Defendants in this case, the Judges and



                                                    2
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 3 of 79 PageID: 1011



  Mediator to whom this case is assigned and their immediate family members, all persons who

  request exclusion from (opt-out of) the Settlement, vehicles deemed a total loss, anyone claiming

  personal injury, property damage other than to a Class Vehicle or subrogation, all persons who

  previously released any claims encompassed in this Settlement, and vehicles transported outside

  the United States; and

          WHEREAS, Defendants expressly deny any wrongdoing alleged in the pleadings and do

  not admit or concede any actual or potential fault, wrongdoing, or liability in connection with any

  facts or claims that have been or could have been alleged against them in the Action. Even though

  Defendants expressly deny any wrongdoing, Defendants have concluded that settlement is

  desirable in order to avoid the time, expense, and inherent uncertainties of defending protracted

  litigation and to resolve, finally and completely, all pending and potential claims of the Plaintiffs

  and all members of the Class which were or could have been asserted by Plaintiffs and the Class in

  the Action; and

          WHEREAS, Plaintiffs recognize the substantial benefits to Plaintiffs and the Class under

  the terms of this Settlement Agreement and the costs, risks, and uncertainty of protracted litigation,

  especially in complex actions such as this, as well as the difficulties and delays inherent in such

  litigation, and believe that it is in their interest, and the interest of all Class Members, to resolve the

  Action, and any and all claims asserted in the Action against Defendants, in order to provide

  effective relief promptly to Plaintiffs and the Class in this Settlement Agreement; and

          WHEREAS, the undersigned Parties believe that this Settlement Agreement offers

  significant benefits to Class Members and is fair, reasonable, adequate, and in the best interest of

  Class Members; and

          WHEREAS, this Settlement Agreement is made and entered into by and among Plaintiffs,




                                                      3
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 4 of 79 PageID: 1012



  individually and on behalf of the Class, and Defendants;

          NOW, THEREFORE, it is hereby stipulated and agreed, by and between the undersigned

  Parties, as follows:

  I.      DEFINITIONS

          As used in this Settlement Agreement and the attached exhibits (which are an integral part

  of this Settlement Agreement and are incorporated in their entirety by reference), the following

  terms will have the meaning set forth below, unless this Settlement Agreement specifically

  provides otherwise. Where appropriate, terms used in the singular will be deemed to include the

  plural and vice versa.

          A.      Battery Discharge. “Battery Discharge” means the discharge of the battery less

   than 2 years after installation.

          B.      BMW NA. “BMW NA” means Defendant BMW of North America, LLC.

          C.      BMW AG. “BMW AG” means Defendant Bayerische Motoren Werke

   Aktiengesellschaft.

          D.      Claim Form. “Claim Form” means a form in substantially the same form as that

   attached hereto as Exhibit “A.”

          E.      Claims Confirmation Process. “Claims Confirmation Process” means the process

   by which properly submitted claims accepted by the Settlement Administrator are reviewed and

   validated by BMW NA to ensure that (1) the Class Vehicle’s warranty has not been invalidated,

   (2) the VIN number associated with the Claim matches the Settlement Class Member’s VIN

   number, (3) BMW NA or a BMW Center has not previously paid for the same claim(s) submitted

   for reimbursement, (4) the claim is for an item covered under this Settlement Agreement; and (5)

   the claim has not been fraudulently submitted.




                                                    4
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 5 of 79 PageID: 1013



         F.      Claims Submission Period. “Claims Submission Period” means the time period

   during which Class Members may submit claims which will commence with the mailing of the

   Settlement Class Notice and will conclude thirty (30) days after the Final Approval Hearing.

         G.      Condition Based Service Indicator. “CBS” means the condition based service

   indicator, which bases maintenance of the vehicle on, among other things, the specific driving

   conditions of that vehicle.

         H.      Customer Care Program. “CCP” means the Customer Care Program instituted by

   BMW NA under SIB 110604.

         I.      Settlement Class Counsel. “Settlement Class Counsel” means McCune Wright

   Arevalo, LLP and Wagstaff & Cartmell LLP.

         J.      Settlement Class Counsel Fees and Expenses. “Settlement Class Counsel Fees

   and Expenses” means the reasonable attorneys’ fees and expenses approved by the Court, to be

   paid by Defendants.

         K.      Settlement Class Members or Settlement Class. “Settlement Class Members” or

   “Settlement Class” means all current and former owners and lessees of a Class Vehicle in the

   United States, including the District of Columbia and Puerto Rico. Excluded from this definition

   are Defendants, as well as Defendants’ affiliates, employees, officers, and directors, attorneys,

   agents, insurers, third-party providers of extended warranty/service contracts, franchised dealers,

   independent repair/service facilities, fleet owners and operators, rental companies and vehicles,

   the attorneys representing Defendants in this case, the Judges and Mediator to whom this case is

   assigned and their immediate family members, all persons who request exclusion from

   (opting-out of) the Settlement, vehicles deemed a total loss, anyone claiming personal injury,

   property damage other than to a Class Vehicle or subrogation, all persons who previously




                                                   5
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 6 of 79 PageID: 1014



   released any claims encompassed in this Settlement, and vehicles transported outside the United

   States.

          L.      Settlement Class Notice. “Settlement Class Notice” means the Court-approved

   form of notice to current and former owners and lessees of Settlement Class Vehicles, in

   substantially the same form as that attached hereto as Exhibit “B,” informing them of, among

   other things, the (i) preliminary approval of the Settlement; (ii) scheduling of the Final Approval

   Hearing; (iii) opportunity to submit a claim; (iv) opportunity to submit an objection; and (v)

   opportunity to request exclusion.

          M.      Settlement Class Representatives. “Settlement Class Representatives” means

   Joon Bang, Razvan Victor Bengulescu, Gerald Bezems, Scott Crockett, Rifat Gorener,

   Christopher LeSieur, Lawrence Marcus, and Mikhail Suleymanov.

          N.      Settlement Class Vehicles. “Settlement Class Vehicles” means US specification

   model years 2009 through 2014 BMW 5 Series, 6 Series, 7 Series, X5 and X6 vehicles that

   contain the N63 engine distributed for sale, and registered and operated in the United States,

   including the District of Columbia and Puerto Rico.

          O.      Court. “Court” means the United States District Court for the District of New

   Jersey, the Honorable Madeline C. Arleo presiding, or her duly appointed successor.

          P.      Defendants. “Defendants” means BMW AG and BMW NA, as well as its and

   their predecessors, successors, assigns, parents, affiliates, directors, officers, agents, attorneys,

   representatives, and employees.

          Q.      Defendants’ Counsel. “Defendants’ Counsel” means Buchanan Ingersoll &

   Rooney PC.

          R.      Effective Date. “Effective Date” means the earliest of the following: (1) the date




                                                     6
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 7 of 79 PageID: 1015



   on which the time for appeal from the Final Judgment approving the settlement has elapsed

   without any appeals being filed; or (2) the date on which all appeals from the Final Judgment

   approving this Settlement or from any appellate court decisions affirming the Final Judgment

   have been exhausted, and no further appeal may be taken.

         S.      Final Approval Hearing. “Final Approval Hearing” means the hearing at which

   the Court will consider and finally decide whether to enter the Final Approval Order.

         T.      Final Approval Order. “Final Approval Order” means the Court order that

   approves this Settlement Agreement and makes such other final rulings as are contemplated by

   this Settlement Agreement.

         U.      Objection Deadline. “Objection Deadline” means the date agreed upon by the

   Parties or otherwise ordered by the Court in the Preliminary Approval Order by which any Class

   Members who wish to do so must object to the Settlement Agreement’s terms or provisions and

   submit any required statements, proof, or other materials and/or argument.

         V.      Excess Oil Consumption. “Excess Oil Consumption” means the use by a Class

   Vehicle of more engine oil than customary and expected.

         W.      Opt-Out Deadline. “Opt-Out Deadline” means the date agreed upon by the Parties

   or otherwise ordered by the Court in the Preliminary Approval Order, by which any Settlement

   Class Members who do not wish to be included in the Settlement Class and participate in the

   Settlement Agreement must complete the acts necessary to properly effect such election.

         X.      Oil Service. “Oil Service” means replacement of oil filter and the draining and

   refilling of the engine with new engine oil.

         Y.      Oil Consumption Test. “Oil Consumption Test” means a test to determine how

   much oil the engine is consuming within a 1,000 miles by first draining the engine oil, refilling it




                                                   7
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 8 of 79 PageID: 1016



   and having the vehicle driven for 1,000 miles, then draining and measuring the remaining oil to

   see whether the amount of oil used falls within BMW’s established acceptable parameters of

   consuming 1qt/750 miles.

         Z.      Opt-Out List. “Opt-Out List” means a written list prepared by Settlement Class

   Counsel or the Settlement Administrator of all Settlement Class Members who submit timely

   Requests for Exclusion.

         AA.     Parties. “Parties” means the Plaintiffs and Defendants.

         BB.     Plaintiffs. “Plaintiffs” means the Settlement Class Representatives, Joon Bang,

   Razvan Victor Bengulescu, Gerald Bezems, Scott Crockett, Rifat Gorener, Christopher LeSieur,

   Lawrence Marcus, and Mikhail Suleymanov.

         CC.     Preliminary Approval Order. “Preliminary Approval Order” means the order of

   the Court preliminarily approving this Settlement Agreement, a proposed version of which is

   attached hereto as Exhibit “C.”

         DD.     Release. “Release” means the release and waiver set forth in Section VII of this

   Settlement Agreement and in the Final Approval Order.

         EE.     Request for Exclusion. “Request for Exclusion” means any request by any

   Settlement Class Member for exclusion from (opt-out of) the Settlement.

         FF.     Settlement. “Settlement” means the agreement by the Parties to resolve the

   Action, the terms of which have been memorialized and provided for in this Settlement

   Agreement and all the exhibits attached hereto.

         GG.     Settlement Administrator. “Settlement Administrator” means the third party

   entity who has been selected by and will be paid for by Defendants to administer the Settlement

   and the claims process.




                                                     8
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 9 of 79 PageID: 1017



         HH.     Settlement Agreement. “Settlement Agreement” means this Settlement

   Agreement and all the exhibits attached hereto.

         II.     Settlement Class. “Settlement Class” means all current and former owners and

   lessees in the United States (including the District of Columbia and Puerto Rico) of a Settlement

   Class Vehicle as defined above. Excluded from the Settlement Class are Defendants,

   Defendants’ employees, Defendants’ attorneys, the judges assigned to this matter, and the

   mediator, as well as all persons making claims for property damage or personal injury.

         JJ.     Settlement Class Members. “Settlement Class Members” means all Settlement

   Class Members who do not affirmatively exclude themselves (i.e., “opt out”) from the Settlement

   as approved by the Court.

         KK.     Special Master. “Special Master” means Bradley A. Winters, Esq. If the

   designated Special Master is unable or unwilling to serve in this capacity in the future for any

   reason, the Parties will jointly agree upon a replacement Special Master. The costs associated

   with the use of the Special Master in this regard will be borne equally (50/50) by the Plaintiffs and

   Defendants (unless otherwise ordered by the Special Master).

         LL.     VIN. “VIN” means Vehicle Identification Number.

         MM. Warranty Period. “Warranty Period” means four years or 50,000 miles from the

   date the Settlement Class Vehicle is first placed into service, whichever comes first, as provided

   in BMW NA’s New Passenger Vehicle Limited Warranty.

  II.    REQUIRED EVENTS

         A.      Promptly after execution of this Settlement Agreement by all Parties:




                                                     9
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 10 of 79 PageID: 1018



                   1.     Settlement Class Counsel and Defendants’ Counsel will take all reasonable

   and necessary steps, subject to the Court’s availability, to obtain entry of the Preliminary Approval

   Order and the Final Approval Order as expeditiously as possible.

                   2.     The Parties will seek entry of a Preliminary Approval Order in substantially

   the same form as that attached hereto as Exhibit “C.” The Preliminary Approval Order will,

   among other things:

                          a.      Certify a nationwide (United States, District of Columbia, and

   Puerto Rico) settlement-only class; approve Joon Bang, Razvan Victor Bengulescu, Gerald

   Bezems, Scott Crockett, Rifat Gorener, Christopher LeSieur, Lawrence Marcus, and Mikhail

   Suleymanov as Settlement Class Representatives; and appoint their counsel as Settlement Class

   Counsel, pursuant to Fed. R. Civ. P. 23;

                          b.      Preliminarily approve the Settlement;

                          c.      Require the dissemination of Settlement Class Notice within sixty

   (60) days of the date of the Preliminary Approval Order and the taking of all necessary and

   appropriate steps to accomplish this task;

                          d.      Determine that the Settlement Class Notice complies with all legal

   requirements, including, but not limited to, the Due Process Clause of the United States

   Constitution;

                          e.      Schedule a date and time for a Final Approval Hearing, not less than

   one hundred and twenty (120) days after the date of the Preliminary Approval Order, to determine

   whether the Settlement should be finally approved by the Court;

                          f.      Require Settlement Class Members who wish to exclude themselves

   to submit an appropriate and timely written request for exclusion by a date certain as specified in




                                                    10
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 11 of 79 PageID: 1019



   the Notice that shall be within forty-five (45) days after dissemination of the Settlement Class

   Notice and advise that a failure to do so will bind those Settlement Class Members who remain in

   the Settlement Class;

                           g.      Require Settlement Class Members who wish to object to the

   Settlement Agreement to submit an appropriate and timely written statement by a date certain as

   specified in the Notice that shall be within forty-five (45) days after dissemination of the

   Settlement Class Notice;

                           h.      Require Settlement Class Members who wish to appear to object to

   the Settlement Agreement to submit an appropriate and timely written statement by a date certain

   as specified in the Notice that shall be within forty-five (45) days after dissemination of the

   Settlement Class Notice;

                           i.      Require attorneys representing objecting Settlement Class

   Members, at the time the objection is filed, at the objecting Settlement Class Members’ expense, to

   file a notice of appearance by a date certain as specified in the Notice that shall be within forty-five

   (45) days after dissemination of the Settlement Class Notice;

                           j.      Appoint the Settlement Administrator; and

                           k.      Issue other related orders as necessary to effectuate the preliminary

   approval of the Settlement Agreement.

                  3.       After the Preliminary Approval Hearing, the Parties will seek to obtain

   from the Court a Final Approval Order in a form to be agreed upon by the Parties. The Final

   Approval Order will be determined by the Court but is expected to, among other things:

                           a.      Find that the Court has personal jurisdiction over all Settlement

   Class Members, subject-matter jurisdiction over the claims asserted in the Action, and that venue




                                                     11
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 12 of 79 PageID: 1020



   is proper;

                          b.     Approve the Settlement Agreement, pursuant to Fed. R. Civ. P. 23;

                          c.     Finally certify the Settlement Class for settlement purposes only;

                          d.     Find that the Settlement Class Notice complied with all laws,

   including, but not limited to, the Due Process Clause of the United States Constitution;

                          e.     Determine and award reasonable and agreed upon attorneys’ fees

   and costs to be paid to Settlement Class Counsel;

                          f.     Dismiss the Action with prejudice;

                          g.     Incorporate the Release set forth in the Settlement Agreement and

   make the Release effective as of the date of the Final Approval Order;

                          h.     Authorize the Parties to implement the terms of the Settlement

   Agreement;

                          i.     Retain jurisdiction relating to the administration, consummation,

   enforcement, and interpretation of the Settlement Agreement, the Final Approval Order, and for

   any other necessary purpose; and

                          j.     Issue any related orders necessary to effectuate the final approval of

   the Settlement Agreement and its implementation.

                  4.      The Parties will use their best efforts, consistent with the terms of this

   Settlement Agreement, to promptly obtain a Final Approval Order.

                  5.      If the Court fails to issue the Preliminary Approval Order, or fails to issue

   the Final Approval Order, the terms of this Settlement Agreement are voidable by either Party.

   However, the Parties agree to use their best efforts, consistent with this Settlement Agreement, to

   cure any defect(s) identified by the Court.




                                                   12
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 13 of 79 PageID: 1021



                  6.     The Parties acknowledge that prompt approval, consummation, and

   implementation of the Settlement set forth in this Settlement Agreement are essential. The Parties

   will cooperate with each other in good faith to carry out the purposes of and to effectuate this

   Settlement Agreement, will promptly perform their respective obligations hereunder, and will

   promptly take any and all actions and execute and deliver any and all additional documents and all

   other materials or information reasonably necessary or appropriate to carry out the terms of this

   Settlement Agreement and the transactions contemplated hereby.

                  7.     Upon Entry of the Final Approval Order, the Action will be dismissed, on

   its merits and with prejudice, subject to the continuing jurisdiction of this Court, and Settlement

   Class Members will be forever barred and enjoined from pursuing any claims which have been

   resolved by this Settlement.

   III.   SETTLEMENT TERMS

          A.      Reimbursement for Out-of-Pocket Expenses Incurred By Class Members
                  Prior to the End of the Claims Submission Period.

          Any Settlement Class Member who has incurred eligible out-of-pocket expense(s) as

   outlined in paragraphs III (A) 2 through 5 below that is related to Excess Oil Consumption or

   Battery Discharge and who incurred such expense prior to the end of the Claims Submission

   Period will be entitled to submit a claim for reimbursement, subject to the following conditions:

                  1.     Required Proof. In order for a claim to be eligible for reimbursement

   pursuant to §§ III(A) 2 through 5, Settlement Class Members must submit a Claim Form to the

   Settlement Administrator that is post-marked during the Claims Submission Period and include:

   (a) documentation that identifies a Settlement Class Vehicle and VIN, (b) proof of payment for the

   amount(s) sought for reimbursement; and (c) documentation evidencing the qualifications as




                                                   13
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 14 of 79 PageID: 1022



   specified for the type of reimbursement sought in paragraphs (2) through (5) below, including sub

   paragraphs.

                  2.      BMW will reimburse Settlement Class Members who are current or past

   owners of Settlement Class Vehicles for the cost (not to exceed $75 each) of up to 3 Oil Services

   on a Settlement Class Vehicles if:

                          a. The amounts were actually paid by Settlement Class Member at the
                             time of Oil Service as evidenced by a repair invoice; and

                          b. The Oil Service occurred prior to 10 years/120,000 miles from the
                             Settlement Class Vehicle’s in-service date; and

                          c. Oil Service took place less than 12 months/10,500 miles after a previous
                             Oil Service as evidenced by the repair invoice of the prior Oil Service
                             and the invoice for the Oil Service for which reimbursement is sought.

   Settlement Class Members may elect to receive one (1) free future Oil Service in lieu of
   reimbursement for each past qualifying Oil Service in addition to the future free Oil Services
   provided for in Section B1.

                  3.      BMW will reimburse Settlement Class Members who are current and past

   owners of Settlement Class Vehicles for the cost (up to $10/quart) of up to 7 quarts of oil that the

   Settlement Class Member purchased between oil services prior to the Effective Date if:

                          a. The oil was of the same type and grade specified for the Settlement
                             Class Vehicle in the owner’s manual/on the vehicle; as evidenced by
                             proof of purchase or the repair/service invoice; and

                          b. At least one prior oil consumption complaint about the Settlement Class
                             Vehicle had been communicated to BMW NA or an authorized BMW
                             Center, as confirmed by a repair order, Customer Relations Report or
                             other written documentation of an oil consumption complaint to BMW
                             NA or to one of its authorized centers; and

                          c. The Settlement Class Vehicle had fewer than 10 years and 120,000
                             miles at the time of oil purchase as evidenced by required proof, for
                             example, service records from before and/or after oil purchase.




                                                   14
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 15 of 79 PageID: 1023



                  4.      BMW will reimburse up to $50 for the cost of one (1) towing/ rental/

   roadside assistance incurred by Settlement Class Members because of an Excess Oil Consumption

   or a Battery Discharge issue if:

                          a. the Settlement Class Vehicle was towed to an authorized BMW Center
                             or a third-party repair facility as evidenced by a repair/service invoice;
                             and

                          b. the Settlement Class Member repair/service invoice states that the
                             towing/rental/roadside assistance was related to an Excess Oil
                             Consumption or Battery Discharge issue.

                  5.      BMW will reimburse Settlement Class Members for their out-of-pocket

   costs for one (1) replacement of any battery (90 Ah or 105 Ah) purchased prior to the mailing of

   the Settlement Class Notice that was less than 3 years old and purchased outside the New Vehicle

   Limited Warranty period.

                  6.      Limitations. Defendants do not warrant or guarantee any repairs performed

   at third-party repair shops and, should any such repairs fail after a Settlement Class Member has

   made a claim under the Settlement, the Settlement Class Member will not be entitled to submit an

   additional claim.

          B.      Future Service Credits and Service Campaign.

                  1.      BMW will provide Settlement Class Members who are current owners or

   lessees with a credit of $75 per Oil Service for up to 3 future Oil Services on a Settlement Class

   Vehicle performed at a BMW Center during the earlier of 10 years or 120,000 miles from the

   in-service date of the Settlement Class Vehicle.

                  2.      Within the earlier of 10 years or 120,000 miles, but in no event less than 1

   year or 12,000 miles from the Effective Date, if a Settlement Class Vehicle’s Low Oil light

   illuminates before the CBS Indicator or oil service light comes on, BMW will provide up to three

   (3) Oil Consumption Tests at a BMW Center at no cost to the Settlement Class Member.


                                                      15
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 16 of 79 PageID: 1024



                   3.         BMW will provide the applicable repairs including diagnosis at no charge

   for failed Oil Consumption Tests up to the earlier of 10 years or 120,000 miles from in-service

   date.

                   4.         Settlement Class Members may be eligible to receive one (1) replacement

   engine, which will include the cylinder heads, during the earlier of 10 years or 120,000 miles from

   the in-service date, if:

                              a. the CCP has been performed on a Settlement Class Vehicle; and

                              b. that Settlement Class Vehicle thereafter fails two Oil Consumption
                                 Tests; and

                              c. BMW cannot completely resolve the Oil Consumption issue after the
                                 second failed Oil Consumption Test and second repair attempt; and

                              d. the Class Vehicle is then brought back to a BMW Center for an Oil
                                 Consumption issue and the BMW Center confirms that there in fact
                                 remains an Oil Consumption issue; and

                              e. the Settlement Class Member agrees to “contribute” to the total
                                 replacement cost of the engine (inclusive of parts and labor) as follows:

                                Odometer Miles at the time of
                                Return to a BMW Center for an
                                 Oil Consumption Issue After
                                 2nd failed Oil Consumption        Customer
                                 Test and 2nd Repair Attempt      Contribution
                                    50,001           60,000            5%
                                    60,001           70,000            15%
                                    70,001           80,000            30%
                                    80,001           90,000            45%
                                    90,001          100,000            60%
                                   100,001          110,000            75%
                                   110,001          120,000            90%
                                   120,001           above            100%

                              f. Notwithstanding paragraphs 4(a) through 4(e) above, in the event a
                                 Class Vehicle is brought to a BMW Center and in its discretion BMW


                                                       16
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 17 of 79 PageID: 1025



                              determines not to attempt to make a repair related to Excess Oil
                              Consumption, but instead to replace the engine due to the Excess Oil
                              Consumption, the Class Member will have the option for an engine
                              replacement but must agree to contribute to the total replacement cost of
                              the engine (inclusive of parts and labor) in the percentage associated
                              with the odometer mileage of the Class vehicle at the time BMW
                              determines to recommend to replace the engine rather than attempt to
                              repair it as set forth in paragraph 4(e).

                  5.      For Settlement Class Vehicles that can be retrofitted with a 105Ah battery,

   BMW will provide the Settlement Class Member with one (1) new 105Ah battery to replace the

   90Ah battery if they did not previously receive a replacement battery, and, thereafter, 105Ah

   replacement batteries at a BMW Center, if the 105Ah battery fails within two (2) years of

   installation (not due to customer negligence) as evidenced by a prior invoice for replacement of the

   battery.

                  6.      For Settlement Class Vehicles with a 90Ah battery (as of the Settlement

   Class Notice Date), that cannot accommodate the 105Ah battery, BMW will provide the

   Settlement Class Member with 90Ah replacement batteries at a BMW Center, if any such battery

   fails within two (2) years of installation (not due to customer negligence) as evidenced by a prior

   invoice for replacement of the battery.

                  7.      The CCP will be available to all Settlement Class Vehicles, if not

   previously performed, regardless of age or mileage, but each Settlement Class Vehicle will only be

   entitled to one (1) CCP repair.

                  8.      All Settlement Class Members (past and present vehicle owners) will be

   eligible to submit a claim to receive either a credit voucher for (i) $1,500 toward the purchase or

   lease of a new BMW 6 and 7 Series vehicles; or (ii) $1,000 toward the purchase or lease of all other

   new BMW models. The credit voucher will be transferable to immediate family members

   (children, parents, and siblings) and will be valid for one (1) year from the Effective Date.



                                                    17
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 18 of 79 PageID: 1026



          C.      Claim Review, Claim Processing, Claim Confirmation, and Appeal from
                  Denial.

                  1.      Claim Review and Processing: All claims submitted for reimbursement or

   compensation will be reviewed within twenty (20) days of receipt by the Settlement

   Administrator, which will be responsible for ensuring that all information and documentation

   required under this Settlement Agreement has been submitted, conditionally approve properly

   supported claims and submit those claims to BMW NA for the Claims Confirmation process.

   Approved claims will be processed for payment thirty (30) days after the Effective Date. The

   Settlement Administrator will advise each claimant by letter if the claim has been rejected and, if

   so, the reason for the rejection. Any claimant whose claim is deemed incomplete, or whose claim

   is denied in whole or in part, will receive from the Settlement Administrator by first-class mail a

   written explanation stating the reasons for denial, including steps the claimant can take to cure the

   deficiencies, if possible. The claimant receiving such notice will be allowed thirty (30) days to

   submit materials to cure the deficiencies. The Settlement Administrator’s letter will inform

   claimants that, they may appeal a denial if they have a valid basis to do so by contacting Settlement

   Class Counsel, who will jointly review with Defendants’ Counsel the rejected claim. If the parties

   cannot agree on whether a claim should be accepted and paid, the parties agree to submit the claim

   for review to the Special Master (agreeable to all parties) who will make the final decision

   regarding the claim. The parties will split equally (50/50) the special master’s fees and costs. The

   Settlement Administrator shall provide monthly updates to both parties jointly.

                  2.      Claim Confirmation: After Claim Review and processing, the Settlement

   Administrator will calculate the amount due to each claimant for all claims accepted and

   conditionally approved by the Settlement Administrator as complying with the requirements of

   this Settlement Agreement. The Settlement Administrator will, on a weekly rolling basis, submit



                                                    18
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 19 of 79 PageID: 1027



   those approved claims to Defendants to determine if there is any reason to believe that an accepted

   claim is fraudulent or otherwise invalid. Within a rolling forty-five (45) days basis of Defendants’

   receipt from the Settlement Administrator of the conditionally approved claims, Defendants may

   object to the approval of the claim based on evidence that: (1) the vehicle’s warranty was voided

   because (a) the VIN has been altered or cannot be read, (b) the vehicle has been declared a total

   loss or sold for salvage purposes (for reasons unrelated to Excess Oil Consumption or Battery

   Discharge), or (c) the vehicle has been used in any competitive racing event (this does not include

   non-driving events where the vehicle is on display); (2) the VIN number associated with the claim

   does not match the Settlement Class Member’s VIN number; or (3) the claim for reimbursement is

   for an item or service that is not covered under this Settlement Agreement; or for which a claim

   under this Settlement Agreement has already been made and paid; or for which the Settlement

   Class Member has received “goodwill” or other cost/price adjustment, coupon, reimbursement, or

   refund from BMW NA, a BMW Center, insurer or any person or entity associated with

   Defendants, equal to or in excess of the amount of the claim submitted.

                  3.      Claim Payment: Commencing fourteen (14) days after the Effective Date,

   the Settlement Administrator will commence issuing payment for approved and validated Claims.

                  4.      Appeal from Denial: If a claimant has a valid basis for appealing a denial,

   the claimant may appeal that denial by notifying the Settlement Administrator, in writing, within

   fifteen (15) days of the date notice of such denial was mailed to the claimant that the claimant

   wishes to appeal the denial. Claimant must provide the Settlement Administrator with the basis for

   the appeal. The Settlement Administrator will maintain a file of all timely-submitted appeals from

   claim denials. Thirty (30) days after the Settlement Administrator sends the last denial letter, the

   Settlement Administrator will provide Settlement Class Counsel and Defense Counsel with a list




                                                   19
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 20 of 79 PageID: 1028



   of all timely-submitted appeals and all documents related to such claimants’ appeals. The Parties

   will then meet and confer in an effort to resolve the appeals from claim denials. If the Parties are

   unable to resolve any appeal by meeting and conferring, the appeal will be submitted to the Special

   Master, whose determination will be final and binding.

   IV.    NOTIFICATION TO CLASS MEMBERS

          A.       Unless otherwise specified, Defendants will pay all costs related to the following

   notice program (subject to the Court approving the same, which will be effectuated within sixty

   (60) days of the entry of the Preliminary Approval Order):

                   1.     Defendant will retain a third-party to search the applicable registration

   databases to identify the last known addresses of all Settlement Class Members; and

                   2.     Provide a notice to those Settlement Class Members by a direct first-class

   mailing.

                   3.     Settlement Class Members will be able to submit their claims by U.S. Mail

   or via email.

                   4.     Publication on a website maintained by the Settlement Administrator and

   800 number, which shall remain available until all claims decisions by the Claims Administrator

   and payment to claimants have been made.

          B.       Within sixty (60) days after entry of the Preliminary Approval Order, or such

   longer period as may be required due to a delay in securing registration data from one or more state

   motor vehicle agencies, the Settlement Administrator will disseminate Settlement Class Notice to

   the Settlement Class as specified in the Preliminary Approval Order and herein, and in compliance

   with all applicable laws, including, but not limited to, the Due Process Clause of the Constitution.

          C.       Within sixty (60) days after entry of the Preliminary Approval Order, the




                                                   20
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 21 of 79 PageID: 1029



   Settlement Administrator will be responsible for, without limitation:

   (a) maintaining and administering the website and telephone numbers described below; and (b)

   establishing a website dedicated to the Settlement which (i) will provide information about the

   Settlement including all relevant documents and (ii) will provide a means by which Settlement

   Class Members may submit their claims by U.S. Mail or email.

           D.     Defendants will commence making payments required under the Settlement.

   Agreement within fourteen (14) days after the Effective Date.

           E.     All costs associated with Settlement Administration will be paid by Defendants.

           F.     Contents of the Settlement Class Notice: The Settlement Class Notice, in a form

   substantially similar to the one attached to the Settlement Agreement as Exhibit B, will advise

   Class Members of the following:

                  1.      General Terms: The Settlement Class Notice will contain a plain and

   concise description of the nature of the Action, the history of the Action, the preliminary

   certification of the Settlement Class, and the proposed Settlement, including information on the

   identity of Settlement Class Members, how the proposed Settlement would provide relief to the

   Settlement Class Members, what claims are released under the proposed Settlement, and other

   relevant terms and conditions.

                  2.      Exclusion/Opt-Out Rights: The Settlement Class Notice will inform

   Settlement Class Members that they have the right to request exclusion from (opt out of) the

   Settlement. The Settlement Class Notice will provide the deadlines and procedures for exercising

   this right.

                  3.      Objection to Settlement: The Settlement Class Notice will inform

   Settlement Class Members of their right to object to the proposed Settlement and appear at the




                                                   21
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 22 of 79 PageID: 1030



   Final Approval Hearing. The Settlement Class Notice will provide the deadlines and procedures

   for exercising these rights.

                  4.      Attorneys’ Fees and Expenses: The Settlement Class Notice will inform

   Settlement Class Members about the amounts being sought by Settlement Class Counsel as

   Attorneys’ Fees and Expenses, will explain that Defendants will pay the attorneys’ fees and

   expenses awarded to Settlement Class Counsel after the Effective Date, in addition to and without

   reducing the relief being made available to Settlement Class Members.

                  5.      Claim Form: The Settlement Class Notice will include the Claim Form,

   which will inform the Settlement Class Member that he/she must fully complete and timely return

   the Claim Form and supporting documents within the Claim Period to be eligible to obtain a

   recovery.

                  6.      Parties’ Websites: Counsel for any Party may place content/formation

   about the Settlement on their websites (including an invitation for an interested party to signal a

   desire to receive additional information or a return call/contact); and

                  7.      Media Inquiries: If the media contacts any Party, that Party may respond to

   the inquiry.

          F.      No less than ten (10) days prior to the Final Approval Hearing, Defendants will

   provide to the Court, with a copy to Settlement Class Counsel, an affidavit from the Settlement

   Administrator attesting that Settlement Class Notice was disseminated in a manner consistent with

   the terms of this Settlement Agreement, or those otherwise required by the Court.

   V.     REQUESTS FOR EXCLUSION BY SETTLEMENT CLASS MEMBERS

          A.      The provisions of this paragraph will apply to any Request for Exclusion. Any

   Settlement Class Member may make a Request for Exclusion by mailing or delivering such




                                                    22
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 23 of 79 PageID: 1031



   request in writing to Settlement Class Counsel and Defendants’ Counsel at the addresses set forth

   in the Settlement Class Notice. Any Request for Exclusion must be postmarked and received not

   later than the Opt-Out Deadline specified in the Court’s Preliminary Approval Order. Any

   Request for Exclusion must (1) state the Settlement Class Member’s full name and current

   address; (2) identify the model year and Vehicle Identification Number (“VIN”) of his/her

   vehicle(s) and the date(s) of purchase or lease; and (3) specifically and clearly state his/her desire

   to be excluded from the Settlement and from the Settlement Class.

          B.      Any Settlement Class Member who submits a timely Request for Exclusion may

   not file an objection to the Settlement and will be deemed to have waived any rights or benefits

   under this Settlement Agreement.

          C.      No less than ten (10) days prior to the Final Approval Hearing, Settlement Class

   Counsel will report to the Court the names of all individuals who have submitted a Request for

   Exclusion.

   VI.    OBJECTIONS BY SETTLEMENT CLASS MEMBERS

          A.      Any Settlement Class Member who has not filed a timely written Request for

   Exclusion and who wishes to object to the fairness, adequacy, or reasonableness of this Settlement

   Agreement or the Settlement, or to the requested award of Attorneys’ Fees and Expenses, must file

   a written notice of objection by the Objection Deadline, as well as a notice of intention to appear at

   the Final Approval Hearing (“Notice of Intention to Appear”) if he/she wishes to appear and be

   heard at the Final Approval Hearing. To state a valid objection to the Settlement, an objecting

   Settlement Class Member must provide the following information in the Settlement Class

   Member’s written objection: (1) his/her full name, current address, and current telephone number;

   (2) the model year of his/her Vehicle(s), as well as the VIN of his/her Vehicle(s) and the date(s) of




                                                    23
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 24 of 79 PageID: 1032



   purchase or lease; (3) a statement of the position(s) the objector wishes to assert, including the

   factual and legal grounds for the position; (4) provide copies of relevant repair history or other

   proof that the objector has owned or leased the Settlement Class Vehicle (i.e., a true copy of a

   vehicle title, registration, or license receipt); and (5) any other documents that the objector wishes

   to submit in support of his/her position and of any other documents that the objector wishes to

   submit in support of his/her position.

          B.      To be valid, an objection also must include a detailed statement of each objection

   asserted, including the grounds for objection. In addition, any Settlement Class Member objecting

   to the Settlement must provide a detailed statement of any objections to any other class action

   settlements submitted in any court, whether state, federal, or otherwise, in the United States in the

   previous five (5) years. If the Settlement Class Member has not objected to any other class action

   settlement in any court in the United States in the previous five (5) years, he/she must affirmatively

   so state in the written materials provided in connection with the objection to this Settlement. Upon

   the filing of an objection, of their own choosing, Class Counsel and/or Defendants’ Counsel may

   take the deposition of the objecting Settlement Class Member pursuant to the Federal Rules of

   Civil Procedure at an agreed-upon time and location, and to obtain any evidence relevant to the

   objection. Failure by an objector to make himself of herself available for deposition or comply

   with expedited discovery may result in the Court striking the objection. The Court may tax the

   costs of any such discovery to the objector or the objector’s counsel if the Court determines that

   the objection is frivolous or is made for an improper purpose.

          C.      Finally, subject to approval of the Court, any objecting Settlement Class Member

   may appear, in person or by counsel, at the Final Approval Hearing held by the Court, to show

   cause why the proposed Settlement should not be approved as fair, adequate, and reasonable, or




                                                    24
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 25 of 79 PageID: 1033



   object to any petitions for attorneys’ fees and reimbursement of reasonable litigation costs and

   expenses. The objecting Settlement Class Member must file with the Clerk of the Court and serve

   upon all counsel designated in the Settlement Class Notice a Notice of Intention to Appear by the

   Objection Deadline or on such other date that may be set forth in the Settlement Class Notice. The

   Notice of Intention to Appear must include copies of any papers, exhibits, or other evidence that

   the objecting Settlement Class Member (or his/her counsel) will present to the Court in connection

   with the Final Approval Hearing. Any Settlement Class Member who does not provide a Notice of

   Intention to Appear in complete accordance with the deadlines and other specifications set forth in

   the Settlement Class Notice, and who has not filed an objection in complete accordance with the

   deadlines and other specifications set forth in this Settlement and the Settlement Class Notice, will

   be deemed to have waived any objections to the Settlement and will be barred from speaking or

   otherwise presenting any views at the Final Approval Hearing.

          D.      The agreed-upon procedures and requirements for filing objections in connection

   with the Final Approval Hearing are intended to ensure the efficient administration of justice and

   the orderly presentation of any Settlement Class Member’s objection to the Settlement, in

   accordance with such Class Member’s due-process rights. The Preliminary Approval Order and

   Settlement Class Notice will require all Settlement Class Members who have any objections to file

   such notice of objection or request to be heard with the Court, and serve by mail or hand delivery

   such notice of objection or request to be heard upon Settlement Class Counsel and Defendants’

   Counsel at the addresses set forth in the Settlement Class Notice, by no later than the Objection

   Deadline. The Preliminary Approval Order will further provide that objectors who fail properly or

   timely to file their objections with the Court, along with the required information and

   documentation set forth above, or to serve them as provided above, will not be heard during the




                                                    25
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 26 of 79 PageID: 1034



   Final Approval Hearing, and their objections will be waived and will not be considered by the

   Court. Settlement Class Counsel will be responsible for addressing all objections.

           E.      Any Settlement Class Member who objects to the Settlement will be entitled to all

   of the benefits of the Settlement if this Settlement Agreement and the terms contained herein are

   approved, as long as the objecting Settlement Class Member complies with all the requirements of

   this Settlement Agreement applicable to Settlement Class Members.

   VII.    RELEASE, DISMISSAL OF ACTION, AND JURISDICTION OF COURT

           The Parties agree to the following release and waiver, which will take effect upon entry of

   the Effective Date:

           A.      By this Settlement Agreement and the following Release, the released parties

   include BMW NA and BMW AG and their direct and indirect parents, subsidiaries, affiliates,

   officers, directors, agents, authorized BMW dealers, attorneys, and all other persons or entities

   acting on its or their behalf; suppliers, licensors, licensees, distributors, assemblers, partners,

   component part designers, manufacturers, holding companies, joint ventures, and any individuals

   or entities involved in the chain of design, development, testing, manufacture, sale, assembly,

   distribution, marketing, advertising, financing, warranting, repair, and maintenance of the

   Settlement Class Vehicles and their component parts (“Released Parties”). The released claims

   refer to any and all claims, including demands, rights, liabilities, and causes of action, of every

   nature and description that were asserted or could have been asserted in the Action, which relate to

   Excess Oil Consumption and Battery Discharge in the Settlement Class Vehicles, excluding

   claims for property damage or personal injury (“Released Claims”). Upon the Effective Date of

   this Settlement, the Settlement Class Representatives and Settlement Class shall each and do

   hereby forever release, discharge, waive, and covenant not to sue the Released Parties regarding




                                                     26
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 27 of 79 PageID: 1035



   any and all of the Released Claims. This release includes any such claims that the Settlement Class

   Representatives and Settlement Class do not know of or suspect to exist in their favor at the time of

   this release and that, if known by them, might have affected their settlement and release of the

   Released Parties, or might have affected their decision not to object to this Settlement. The

   foregoing waiver includes without limitation an express waiver, to the fullest extent permitted by

   New Jersey law, and any and all other state laws, including of any and all rights conferred by

   section 1542 of the California Civil Code, which provides:

                  A general release does not extend to claims which the creditor
                  does not know or suspect to exist in his or her favor at the time
                  of executing the release, which if known by him or her must
                  have materially affected his or her settlement with the debtor.

   The foregoing waiver also includes without limitation an express waiver, to the fullest extent

   permitted by law, of any and all rights under any law of any state or territory of the United States,

   including the District of Columbia, and any federal law or principle of common law or equity, or of

   international foreign law, that is comparable to section 1542 of the California Civil Code. The

   Settlement Class Representatives and Settlement Class recognize that even if they later discover

   facts in addition to or different from those they know or believe to be true, they nevertheless agree

   that upon entry of the final approval order and judgment, the Settlement Class Representatives and

   Settlement Class fully, finally, and forever settle and release any and all of the Released Claims.

   The foregoing waiver and release was bargained for and is a material element of this Settlement

   Agreement.

          B.      The Settlement Class Representatives represent and warrant that they are the sole

   and exclusive owners of all claims that they are releasing under this Settlement Agreement. The

   Settlement Class Representatives further acknowledge that they have not assigned, pledged, or in

   any manner whatsoever sold, transferred, assigned, or encumbered any right, title, interest, or



                                                    27
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 28 of 79 PageID: 1036



   claim arising out of or in any way whatsoever pertaining to the Action, including, without

   limitation, any claim for benefits, proceeds, or value under the Action, and that the Settlement

   Class Representatives are not aware of anyone other than themselves claiming any interest, in

   whole or in part, in the Action or in any benefits, proceeds, or values under the Action.

          C.      The Settlement Class Representatives further represent that, as of the date of this

   agreement, they are not aware of any Settlement Class Members who have filed claims or actions

   for the relief sought in this Action, other than the Settlement Class Representatives.

          D.      Without in any way limiting its scope, this Release encompasses, by example and

   without limitation, any and all claims for attorneys’ fees, costs, expert fees, consultant fees,

   interest, litigation fees, costs, or any other fees, costs, and/or disbursements incurred by Settlement

   Class Counsel or by Plaintiffs, except to the extent otherwise specified in the Settlement

   Agreement.

          E.      The Settlement Class Representatives expressly agree that this Release will be and

   may be raised as a complete defense to and will preclude any action or proceeding relating to the

   Released Claims.

          F.      This Settlement Agreement and Release does not affect the rights of Settlement

   Class Members who timely and properly request exclusion from (opt-out of) the Settlement.

          G.      The administration and consummation of the Settlement as embodied in this

   Settlement Agreement will be under the authority of the Court. The Court will retain jurisdiction

   to protect, preserve, and implement the Settlement Agreement including, but not limited to, the

   Release. The Court expressly retains jurisdiction to enter such further orders as may be necessary

   or appropriate in administering and implementing the terms and provisions of the Settlement

   Agreement.




                                                     28
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 29 of 79 PageID: 1037



          H.      Upon the Effective Date: (1) the Settlement Agreement will be the exclusive

   remedy for any and all Settlement Class Members for Released Claims, except those who have

   properly requested exclusion (opted out) in accordance with the terms and provisions hereof; (2)

   the Defendants will not be subject to liability or expense of any kind to any Settlement Class

   Member(s) for Released Claims except as set forth herein; and (3) Settlement Class Members will

   be permanently barred from initiating, asserting, or prosecuting any and all Released Claims

   against Defendants in any federal or state court in the United States or any other tribunal.

          I.      Nothing in this Release will preclude any action to enforce the terms of the

   Settlement Agreement, including participation in any of the processes detailed therein.

   VIII. ATTORNEYS’ FEES AND EXPENSES AND INCENTIVE AWARDS

          A.      All expenses incurred in administering this Settlement Agreement, including,

   without limitation, all attorneys’ fees and costs, the cost of the Settlement Class Notice, and the

   cost of distributing and administering the benefits of the Settlement Agreement, will be paid by

   Defendants, subject to the limitations contained herein. The Settlement Class Counsel Fees and

   Expenses, and Class Representative Incentive Awards, if any, will be paid separate and apart from

   any relief provided to the Settlement Class.

          B.      As part of the resolution of the Action, the Parties have agreed that Settlement Class

   Counsel may apply for an award of attorneys’ fees, inclusive of costs and expenses, not to exceed

   $3,022,000.00 in the aggregate. The Parties have further agreed that Settlement Class Counsel

   shall not seek payment of any amount for any fees, costs and expenses in excess of $3,022,000.00

   if awarded by the Court. The Settlement Class Counsel Fees and Expenses will be paid separate

   and apart from any relief provided to the Settlement Class. Defendants do not oppose, and will not

   encourage or assist any third party in opposing, Settlement Class Counsel’s request for attorneys’




                                                    29
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 30 of 79 PageID: 1038



   fees, costs and expenses up to and not exceeding $3,022,000.00, nor will Defendants contest the

   reasonableness of the amounts requested under this Agreement.

          C.      Also as part of the resolution of the Action, the Parties have agreed that Settlement

   Class Counsel will seek Service Awards (not to exceed $3,500) from the Court for each Class

   Representative, to be paid paid separate and apart from any relief provided to the Settlement Class.

   Settlement Class Counsel will apply to the Court for an award to each Class Representative who

   had their vehicle inspected and/or produced documents for their effort, service, time, and

   expenses. Defendants do not oppose, and will not encourage or assist any third party in opposing,

   Settlement Class Counsel’s request for Incentive Awards up to and not exceeding $28,000 in the

   aggregate, nor will Defendants contest the reasonableness of the amounts requested under this

   Agreement.

          D.      The total amount of Settlement Class Counsel Fees, Expenses and Incentive

   Awards awarded by the Court, subject to Settlement Class Counsel’s and Defendants’

   agreed-upon amount, will be paid by wire transfer, within fourteen (14) business days after the

   Effective Date. Settlement Class Counsel will, at their discretion, allocate the award of attorneys’

   fees, costs, and expenses among Settlement Class Counsel in any manner in which they in good

   faith believe reflects the contributions of such counsel to the prosecution and settlement of the

   Actions.

          E.      Defendants will not be liable for or obligated to pay any fees, expenses, costs, or

   disbursements to, or incur any expense on behalf of, any person or entity, either directly or

   indirectly, in connection with this Action, this Settlement Agreement, or the proposed Settlement,

   other than the amount or amounts expressly provided for in this Settlement Agreement.




                                                   30
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 31 of 79 PageID: 1039



          F.      Defendants are not responsible for any of Settlement Class Counsel’s attorneys’

   fees and/or internal costs for the settlement, including, but not limited to, any investigative, expert,

   and/or actuarial costs, or any other claims for fees or expenses, other than the attorneys’ fees and

   expenses awarded by the Court pursuant to this Agreement.

   IX.    REPRESENTATIONS, WARRANTIES, AND COVENANTS

          A.      Settlement Class Counsel, who are signatories hereof, represent and warrant that

   they have the authority, on behalf of Plaintiffs and Settlement Class Counsel, to execute, deliver,

   and perform this Settlement Agreement and to consummate all of the transactions contemplated

   hereby. This Settlement Agreement has been duly and validly executed and delivered by

   Settlement Class Counsel and Plaintiffs and constitutes their legal, valid, and binding obligation.

          B.      Defendants, through their undersigned attorneys, represent and warrant that they

   have the authority to execute, deliver, and perform this Settlement Agreement and to consummate

   the transactions contemplated hereby. The execution, delivery, and performance by Defendants of

   this Settlement Agreement and the consummation by it of the actions contemplated hereby have

   been duly authorized by all necessary corporate action on the part of Defendants. This Settlement

   Agreement has been duly and validly executed and delivered by Defendants and constitutes their

   legal, valid, and binding obligation.

   X.     MISCELLANEOUS PROVISIONS

          A.      The Parties expressly acknowledge and agree that this Settlement Agreement and

   the exhibits and related documents thereto along with all related drafts, motions, pleadings,

   conversations, negotiations, and correspondence, constitute an offer of compromise and a

   compromise within the meaning of Federal Rule of Evidence 408 and any equivalent rule of

   evidence in any state. In no event will this Settlement Agreement, any of its provisions or any




                                                     31
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 32 of 79 PageID: 1040



   negotiations, statements, or court proceedings relating to its provisions in any way be construed as,

   offered as, received as, used as, or deemed to be evidence of any kind in the Action, any other

   action, or in any judicial, administrative, regulatory, or other proceedings, except in a proceeding

   to enforce this Settlement Agreement or the rights of the Parties or their counsel.

           Without limiting the foregoing, this Settlement Agreement, the exhibits thereto, any

   related documents, any related negotiations, statements, or court proceedings will not be construed

   as, offered as, received as, used as, or deemed to be evidence or an admission or concession of any

   liability, wrongdoing, fault, or omission of any kind whatsoever by Defendants with respect to any

   alleged wrongdoing, fault, or omission of any kind whatsoever, regardless of whether or not this

   Settlement Agreement results in entry of a Final Approval Order as contemplated herein.

   Defendants specifically deny all of the allegations made in connection with the Action. Neither

   this Settlement Agreement nor any class certification pursuant to it will constitute, in this or in any

   other proceeding, an admission by the Defendants, or evidence or a finding of any kind, that any

   requirement for class certification is satisfied with respect to the Action, or any other litigation,

   except for the limited purpose of settlement pursuant to this Settlement Agreement. This

   Settlement Agreement also is made with the Parties’ understanding and agreement that (1) under

   applicable laws, it is appropriate that a class be certified for settlement purposes only (i.e., without

   needing to satisfy fully the standard required for certification of the matter for litigation purposes);

   (2) Defendants contest and deny that any class, including the proposed Settlement Class, is

   suitable for certification as a class under the law of any jurisdiction, other than for the purposes of

   this Settlement Agreement; and (3) notwithstanding any other provisions of this Settlement

   Agreement, all actions and proceedings pursuant to it will be consistent with the foregoing. This

   provision will survive the expiration or voiding of the Settlement Agreement.




                                                     32
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 33 of 79 PageID: 1041



          B.      This Settlement Agreement is entered into only for purposes of settlement. If the

   Final Approval Order is not entered, then this Settlement Agreement, including any releases or

   dismissals hereunder, is canceled, and no term or condition of this Settlement Agreement, or any

   draft thereof, or of the discussion, negotiation, documentation or other part or aspect of the Parties’

   settlement discussions, will have any effect, nor will any such matter be admissible in evidence for

   any purpose, or used for any purposes whatsoever in the Actions, and all Parties will be restored to

   their prior rights and positions as if the Settlement Agreement had not been entered into.

          This Settlement Agreement will terminate by decision of either the Defendants or the

   Plaintiffs, through Settlement Class Counsel, if: (1) the Court, or any appellate court(s), rejects,

   modifies, or denies approval of any portion of this Settlement Agreement or the proposed

   Settlement that the terminating Party reasonably determines(s) is material, including without

   limitation, the terms of relief, the findings, or conclusions of the Court, the provisions relating to

   notice, the definition of the Class, and/or the terms of the Release; or (2) the Court, or any appellate

   court(s), does not enter or completely affirm, or alters or expands, any portion of the Final

   Approval Order, or any of the Court’s findings of fact or conclusions of law, that the terminating

   Party reasonably determine(s) is material. The terminating Party must exercise the option to

   withdraw from and terminate this Settlement Agreement, as provided in this paragraph, no later

   than 20 days after receiving notice of the event prompting the termination. In such event, the

   Parties will be returned to the positions that they occupied as of October 11, 2017.

          Further, Defendants may unilaterally withdraw from and terminate this Settlement

   Agreement within twenty (20) days after receiving notice of either of the following events:

                  1.       any state attorney general, federal agency, or regulatory or administrative

   authority institutes a proceeding against the Defendants arising out of or otherwise related to the




                                                     33
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 34 of 79 PageID: 1042



   Release and any of the terms or conditions of this Settlement Agreement; or

                  2.      any federal or state regulator or agency: (a) objects either to any aspect or

   term of the Settlement Agreement; and (b) requires any substantial modification to the Settlement

   Agreement, including, without limitation, a constriction or expansion of the scope of the

   contemplated relief that Defendants in their sole discretion deem reasonably material.

          D.      If this Settlement Agreement is terminated pursuant to Section X then:

                  1.      This Settlement Agreement will be null and void and will have no force or

   effect and no Party to this Settlement Agreement will be bound by any of its terms, except for the

   terms set forth in this paragraph D;

                  2.      The Parties will petition to have lifted any stay orders entered pursuant to

   this Agreement;

                  3.      All of the provisions, and all negotiations, statements, and proceedings

   relating to it, will be without prejudice to the rights of Defendants, Plaintiffs, or any Settlement

   Class Member, all of whom will be restored to their respective positions occupied as of October

   11, 2017, except that the Parties will cooperate in requesting that the Court set a new scheduling

   order such that no Parties’ substantive or procedural rights are prejudiced by the attempted

   settlement;

                  4.      Defendants expressly and affirmatively reserve all defenses, arguments,

   and motions as to all claims that have been or might later be asserted in the Action, including,

   without limitation, the argument that this Action may not be litigated as a class action;

                  5.      Neither this Settlement Agreement, nor the fact of its having been made,

   nor the negotiations leading to it, nor any discovery or action taken by a Party or Settlement Class

   Member pursuant to this Settlement Agreement, will be admissible or entered into evidence for




                                                    34
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 35 of 79 PageID: 1043



   any purpose whatsoever;

                  6.      Any Settlement-related order(s) or judgment(s) entered in this Action after

   the date of execution of this Agreement will be deemed vacated and will be without any force or

   effect; and

            E.    The headings of the sections and paragraphs of this Settlement Agreement are

   included for convenience only and will not be deemed to constitute part of this Settlement

   Agreement or to affect its construction.

            F.    This Settlement Agreement, including all exhibits attached hereto, may not be

   modified or amended except in writing and signed by all of the Parties and with approval of the

   Court.

            G.    This Settlement Agreement may be executed in one or more counterparts, each of

   which will be deemed an original but all of which together will constitute one and the same

   instrument.

            H.    This Settlement Agreement and any amendments thereto will be governed by and

   construed in accordance with the substantive laws of the State of New Jersey. The Settlement

   Agreement will be interpreted and enforced pursuant to New Jersey law. Federal law (including

   Fed. R. Pro. 23 and federal case law) will govern approval of the settlement, preliminary and final

   certification of the Settlement Class, and all related issues such as Class Counsel’s attorneys’ fee

   and cost petition.

            I.    Any disagreement or action to enforce this Settlement Agreement will be

   commenced and maintained only in the Court in which this Action is pending.

            J.    Except as otherwise provided in this Settlement Agreement, each Party to this

   Settlement Agreement will bear his, her, or its own costs of the Action.




                                                    35
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 36 of 79 PageID: 1044



           K.      The Parties to this Settlement Agreement reserve the right, by agreement and

   subject to the Court’s approval, to grant any reasonable extensions of time that may be necessary

   to carry out any of the provisions of this Settlement Agreement, as well as to correct any

   inadvertent, non-substantive mistakes or typographical errors contained in any of the Settlement

   papers, without additional costs or attorneys’ fees.

           L.      Proper notice will be given to Plaintiffs and Defendants of all applications for Court

   approval or Court orders required under this Settlement Agreement.

           M.      The determination of the terms of, and the drafting of, this Settlement Agreement,

   including its exhibits, has been by mutual agreement after negotiation, with consideration by and

   participation of all Parties and their counsel. Since this Settlement Agreement was drafted with the

   participation of all Parties and their counsel, the presumption that ambiguities will be construed

   against the drafter does not apply. Each of the Parties was represented by competent and effective

   counsel throughout the course of settlement negotiations and in the drafting and execution of this

   Settlement Agreement, and there was no disparity in bargaining power among the Parties to this

   Settlement Agreement. No parol or other evidence may be offered to explain, modify, construe,

   contradict, or clarify its terms, the intent of the Parties or their counsel, or the circumstances under

   which this Settlement Agreement was made or executed.

           N.      All of the exhibits of this Settlement Agreement are material and integral parts

   hereof, and are fully incorporated herein by reference. This Settlement Agreement and the

   exhibits hereto constitute the entire, fully integrated agreement among the Parties and cancel and

   supersede all prior written and unwritten agreements and understandings pertaining to the

   Settlement of the Actions.

           O.      The Parties agree that any disputes regarding the meaning of the terms and




                                                     36
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 37 of 79 PageID: 1045



   conditions of this Settlement Agreement, the Parties’ rights and obligations under this Settlement

   Agreement, or the manner in which any issue or dispute arising under this Settlement Agreement

   should be resolved, will be submitted to the Court for resolution.

          P.      The Parties agree and acknowledge that this Settlement Agreement includes a

   covenant of good faith and fair dealing.

          Q.      The waiver by one Party of any breach of this Settlement Agreement by another

   Party will not be deemed a waiver of any prior or subsequent breach of this Settlement Agreement.

          R.      If one Party to this Settlement Agreement considers another Party to be in breach of

   its obligations under this Settlement Agreement, that Party must provide the breaching Party with

   written notice of the alleged breach within ten (10) days of discovery of the breach and provide a

   reasonable opportunity to cure the breach before taking any action to enforce any rights under this

   Settlement Agreement.

          S.      All time periods set forth herein will be computed in calendar days unless otherwise

   expressly provided. In computing any period of time prescribed or allowed by this Settlement

   Agreement or by order of the Court, the day of the act, event, or default from which the designated

   period of time begins to run will not be included. The last day of the period so computed will be

   included, unless it is a Saturday, Sunday, or legal holiday, or, when the action to be done is the

   filing of a paper in court, a day on which conditions or events have made the office of the clerk of

   the court inaccessible, in which event the period will run until the end of the next day that is not

   one of the aforementioned days. As used in this section “legal holiday” includes New Year’s Day,

   Birthday of Martin Luther King, Jr., Presidents’ Day, Memorial Day, Independence Day, Labor

   Day, Columbus Day, Veterans’ Day, Thanksgiving Day, Christmas Day, and any other day

   appointed as a holiday by the President or the Congress of the United States.




                                                    37
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 38 of 79 PageID: 1046



          T.     Notices. All notices to the Parties or counsel required by this Settlement

   Agreement will be made in writing and communicated by electronic and regular mail to the

   following addresses (unless one of the Parties subsequently designates one or more other

   designees):

                 If to Class Counsel:

                         Matthew D. Schelkopf, Esq.
                         McCune Wright Arevalo, LLP
                         555 Lancaster Avenue
                         Berwyn, Pennsylvania 19312
                         mds@mccunewright.com

                         David C. Wright, Esq.
                         McCune Wright Arevalo, LLP
                         3281 East Guasti Road, Suite 100
                         Ontario, California 91761
                         dcw@mccunewright.com

                         Eric D. Barton, Esq.
                         Wagstaff & Cartmell LLP
                         4740 Grand Avenue, Suite 300
                         Kansas City, MO 64112
                         ebarton@wcllp.com


                 If to Defendants’ Counsel:

                         Christopher J. Dalton, Esq.
                         Daniel Z. Rivlin, Esq.
                         Buchanan Ingersoll & Rooney PC
                         550 Broad Street, Suite 810
                         Newark, New Jersey 07102
                         christopher.dalton@bicp.com
                         daniel.rivlin@bipc.com




                                                  38
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 39 of 79 PageID: 1047
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 40 of 79 PageID: 1048
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 41 of 79 PageID: 1049
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 42 of 79 PageID: 1050
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 43 of 79 PageID: 1051




           IN WITNES;; WHEREOF, Plaintiffs and Class Representatives, Joon Bang, Razvan
                         i
    Victor Bengulescu, qerald Bezems, Scott Crockett, Rifat Gorener, Christopher LeSieur, Lawrence

    Marcus, and Mikhail Suleymanov; have executed this Settlement Agreement as of the date(s)

    indicated on the lines below.

    DATED: ______~-------
                                                            JOONBANG


    DATED: ______~-------
                                                                   VICTOR BENGULESCU


             -=-~---~rl--,l.~
                             11
    DATED:
                   \,
                           f                    <{_
                                  l:::....::.()_:__\




    DATED:
                                                            SCOTT CROCKETT


    DATED:
                                                            RIF AT GORENER


    DATED:
                                                            CHRISTOPHER LESIEUR


    DATED:
                                                            LAWRENCE MARCUS                          .
                                                                                                     ~
                                                                                                     1
    DATED:
                                                            MIKHAIL SULEYMANOV




                                                       40
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 44 of 79 PageID: 1052




            IN WITNESS WHEREOF, Plaintifß         and Class Representatives, Joon Bang, Razvan

     Victor Bengulescu, Gerald Bezems, Scott Crockett, Rifat Gorener, Christopher LeSieur, Lawrence

     Marcus, and Mikhail Suleymanovo have executed this Settlement Agreement as of the date(s)

     indicated on the lines below.

     DATED:
                                                        JOON BANG


     DATED:
                                                        RAZVAN VICTOR BENGULESCU


     DATED:
                                                        GERALD BEZEMS


     DATED:     3-Zb* / Y
                                                                CROCKETT


     DATED
                                                        RIFAT GORENER


     DATED:
                                                        CHRISTOPHER LESIEUR


     DATED:
                                                        LAWRENCE MARCUS


     DATED:
                                                        MIKHAIL SULEYMANOV




                                                   40
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 45 of 79 PageID: 1053
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 46 of 79 PageID: 1054
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 47 of 79 PageID: 1055
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 48 of 79 PageID: 1056




          IN WITNESS WHEREOF, Plaintiffs and Class Representatives, Joon Bang, Razvan

   Victor Bengulescu, Gerald Bezems, Scott Crockett, Rifat Gorener, Christopher LeSieur, Lawrence

   Marcus, and Mikhail Suleymanov, have executed this Settlement Agreement as of the date(s)

   indicated on the lines below.

   DATED: ____________________                       __________________________________
                                                     JOON BANG


   DATED: ____________________                       ___________________________________
                                                     RAZVAN VICTOR BENGULESCU


   DATED: ____________________                       __________________________________
                                                     GERALD BEZEMS


   DATED: ____________________                       __________________________________
                                                     SCOTT CROCKETT


   DATED: ____________________                       __________________________________
                                                     RIFAT GORENER


   DATED: ____________________                       __________________________________
                                                     CHRISTOPHER LESIEUR


   DATED: ____________________                       __________________________________
                                                     LAWRENCE MARCUS


           03/20/2018
   DATED: ____________________                       __________________________________
                                                     MIKHAIL SULEYMANOV




                                                40
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 49 of 79 PageID: 1057




                             EXHIBIT A
 Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 50 of 79 PageID: 1058



       CLAIM FORM TO RECEIVE REIMBURSEMENT FOR ELIGIBLE PAST EXPENSES
                                             IN
                      BANG v. BMW OF NORTH AMERICA, LLC
This form must
be submitted or    Complete this form only if you wish to make a claim for
postmarked on            reimbursement for eligible past expenses
or before                 benefits available under the Settlement.
______, 2018
                         PLEASE TYPE OR PRINT LEGIBLY

                          You must supply all of the following information
         in order to obtain reimbursement for eligible past expenses under this Settlement.

          Name:            ___________________________________

          Address:         ___________________________________

                           ___________________________________

                           ___________________________________

          Email address:

          BMW Model Year:       20 __ __      Model:_________________ (ex: 550 or X6)

          Vehicle Identification Number: __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __
          (The VIN is 17 characters and can be found on the metal plate at the bottom of the
          driver’s side front windshield or on your sale or title documents.)

          Date of Purchase/Lease:_________________________

          YOU MAY BE ELIGIBLE FOR ONE OR MORE OF THE FOLLOWING
      BENEFITS/REIMBURSEMENTS FOR PAST EXPENSES PROVIDED UNDER THE
                               SETTLEMENT:

    A.    Reimbursement for Past Oil Services or Vouchers for Future Oil Services

    B.    Reimbursement for up to 7 Quarts of Oil Previously Purchased Between Oil Services

    C.    Reimbursement for Past Towing/Rental/Roadside-Assistance Service

    D.    Reimbursement for the Past Replacement of a Battery that was less than 3 Years Old

             PLEASE COMPLETE THIS CLAIM FORM ONLY IF YOU ARE
         SEEKING ANY OF THE BENEFITS/REIMBURSEMENTS LISTED ABOVE.

                                             Page -1-

         QUESTIONS? CALL TOLL-FREE __________________ OR VISIT WWW.
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 51 of 79 PageID: 1059




   You MUST submit a Claim Form if you are seeking reimbursement for any of the items listed in
   A-D on the previous page. You do not need to submit this Claim Form if you are only seeking the
   relief detailed in items E-H (below) and are not seeking any reimbursement in items A-D:

       E.     You are a current owner or lessee of a Class Vehicle seeking to have the “N63
              Customer Care Package” performed on your Class Vehicle, and your Class Vehicle
              has not yet received the N63 Customer Care Package; you should contact your local
              BMW Center to schedule an appointment.

       F.     You are a current owner or lessee of a Class Vehicle seeking Oil-Consumption Testing
              or engine replacement following failed oil-consumption tests, please check the
              Settlement website (insert website) after _______, 2018 to see if the Settlement has
              been approved and become effective. After the Settlement has become effective, you
              can make an appointment with a BMW Center.

       G.     You are a current owner or lessee of a Class Vehicle seeking three (3) Future Oil
              Services on a Class Vehicle; a voucher for those services is included with this Notice
              Package. Those Future Oil Services will be available after the Settlement has become
              effective.

       H.     You are a current owner or lessee of a Class Vehicle seeking to obtain the New Vehicle
              Discount; a voucher for that benefit is included with this Notice Package. The New
              Vehicle Discount will be available after the Settlement has become effective.

   In order to expedite your claim submission and processing, please place a check mark ()
   or (X) next to each benefit you are seeking (you may be eligible for more than one benefit):

            Reimbursement for Past Oil Services and/or Vouchers for Future Oil Services (go to
            “A” below)
            Reimbursement for up to 7 Quarts of Oil Previously Purchased Between Oil
            Services (go to “B” below)
            Reimbursement for Past Towing/Rental/Roadside-Assistance Service (go to “C”
            below)
            Reimbursement for Past Replacement of a Battery that was less than 3 Years Old
            (go to “D” below)

                    PLEASE SEE QUESTIONS 7 AND 9 ON THE NOTICE FORM
                           FOR MORE INFORMATION AND LIMITATIONS.
   ---------------------------------------------------------------------------------------------------------------------
                          CLAIMS FOR REIMBURSEMENT
                              FOR PAST EXPENSES
   If you are seeking reimbursement for past expenses, please follow these instructions. You can
   seek reimbursement for more than one category. Please print the applicable reimbursement
                                               Page -2-

            QUESTIONS? CALL TOLL-FREE __________________ OR VISIT WWW.
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 52 of 79 PageID: 1060



   category or categories (A, B, C, and/or D) on the top right-hand corner of any documents that
   you submit to support a reimbursement claim.

   A.       Reimbursement for Past Oil Services

   To obtain reimbursement for up to three (3) past oil services (not to exceed $75 each), you must
   submit for each oil service claimed documents showing:

            a.    The amount you paid for the oil service as evidenced by a repair invoice; and
            b.    That the oil service occurred prior to 10 years/120,000 miles from your Class
                  Vehicle’s in-service date; and
            c.    That the oil service took place less than 12 months/10,500 miles after a previous
                  oil service as evidenced by the repair invoice of the prior oil service and the
                  invoice for the oil service for which you are seeking reimbursement.

   For each set of supporting documents submitted (up to 3), please indicate that they are being
   submitted for Reimbursement Category A by writing “A” in the top right-hand corner of each
   document. Alternatively, instead of reimbursement, you can choose to receive a voucher good
   for a future oil service on a Class Vehicle. Please note your choice below.

   You can use the table below for each oil service that you are seeking to have reimbursed or for
   which you are seeking a voucher for a future oil service.

   Claim                                              Mileage      Date           Cash      Voucher
             Oil service for which you are seeking
             reimbursement
        1
             Prior oil service
                                                                                   □           □
             Difference (must be less than 12
             months/10,500 miles)
             Oil service for which you are seeking
             reimbursement
        2
             Prior oil service
                                                                                   □           □
             Difference (must be less than 12
             months/10,500 miles)
             Oil service for which you are seeking
             reimbursement
        3
             Prior oil service
                                                                                   □           □
             Difference (must be less than 12
             months/10,500 miles)




                                                Page -3-

            QUESTIONS? CALL TOLL-FREE __________________ OR VISIT WWW.
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 53 of 79 PageID: 1061



   B.     Reimbursement for Past Oil Purchases for up to 7 Quarts of Oil Previously
          Purchased Between Oil Services

   To obtain reimbursement for the cost (up to $10 per quart) of up to seven (7) quarts of oil that
   you purchased between oil services, you must submit documents showing that:

          a.      The oil was of the same type and grade specified for your Class Vehicle in
                  the owner’s manual or on the vehicle, as evidenced by a proof of purchase
                  or a repair order/service invoice; and
          b.      There was at least one (1) prior oil-consumption complaint about your
                  Class Vehicle to BMW NA or an authorized BMW Center, as confirmed
                  by a repair order, a BMW NA Customer Relations Report, or other written
                  documentation of an oil-consumption complaint to BMW NA or to one of
                  its authorized centers; and
          c.      Your Class Vehicle had fewer than 10 years and 120,000 miles at the time
                  of oil purchase(s) as evidenced by required proofs, for example, service
                  records from before and/or after the oil purchase.

   For each set of supporting documents submitted (for up to seven (7) quarts of oil), please
   indicate that they are being submitted for Reimbursement Category B by writing “B” in the top
   right hand corner of each document.

   C.     Reimbursement for Past Towing/Rental/Roadside-Assistance Service

   To obtain reimbursement of up to $50 for the cost of one (1) towing/rental/roadside-assistance
   service you incurred because of an excess oil consumption or premature battery failure issue, you
   must submit documents showing that:

          a.      Your Class Vehicle was towed to an authorized BMW Center or a third-
                  party repair facility as evidenced by a repair order or service invoice; and
          b.      The repair order or service invoice states that the towing/rental/roadside-
                  assistance service was related to an excess oil consumption or a premature
                  battery failure issue.

   Please indicate that the supporting documents are being submitted for Reimbursement
   Category C by writing “C” in the top right-hand corner of each document.

   D.     Reimbursement for Past Replacement of a Battery that Was Less than 3 Years Old

   If you are seeking reimbursement for one (1) replacement of a 90 Ah or 105 Ah battery, you
   must submit documents showing that:

          a.      You purchased a 90 Ah or 105Ah battery;
          b.      The replaced (discharged) battery was less than 3 years old; and
          c.      You purchased the replacement (new) battery outside the 4 year/50,000
                  mile New Vehicle Limited Warranty period.
                                                Page -4-

          QUESTIONS? CALL TOLL-FREE __________________ OR VISIT WWW.
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 54 of 79 PageID: 1062




   Please indicate that the supporting documents are being submitted for Reimbursement
   Category D by writing “D” in the top right-hand corner of each document.

            Did you receive any “goodwill” or other cost/price adjustment, coupon, reimbursement,
            or refund from BMW NA, a BMW Center, insurer or any person or entity associated with
            Defendants, equal to or in excess of the amount of the claim submitted in connection with
            any of the above services, repairs, or replacement?

            If so, please provide proof of same and explain below.

            ________________________________________________________________________

            ________________________________________________________________________

   ---------------------------------------------------------------------------------------------------------------------

        COMPLETED CLAIMS FORMS CAN BE SUBMITTED BY MAIL OR ONLINE.

           IF SUBMITTING BY MAIL, COMPLETE THIS CLAIM FORM AND MAIL IT,
                    POSTMARKED ON OR BEFORE ________, 2018 TO:

                                                Claims Administrator
                                                       [Name]
                                                   PO Box ____]
                                               [City, State, ZIP Code]

    IF SUBMITTING ONLINE, COMPLETE AND SUBMIT THE CLAIM FORM AVAILABLE
         AT WWW.[INSERT WEBSITE].COM N OR BEFORE _______________, 2018.




                                                        Page -5-

           QUESTIONS? CALL TOLL-FREE __________________ OR VISIT WWW.
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 55 of 79 PageID: 1063



                                   CLAIMANT DECLARATION

          I declare under penalty of perjury that the information above and the documents I have

   supplied are true and correct to the best of my knowledge.


          Signed On:    ________________

                         (DD/MM/YYYY)

   in _____________________________, ___________________________.
                   (City)                  (State)



                                               __________________________________________
                                               (Sign your name here)


                                               __________________________________________
                                               (Type or print your name here)


                                               __________________________________________
                                               (Capacity of person signing - if applicable)




                                               Page -6-

          QUESTIONS? CALL TOLL-FREE __________________ OR VISIT WWW.
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 56 of 79 PageID: 1064




                             EXHIBIT B
     Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 57 of 79 PageID: 1065

               United States District Court for the District of New Jersey

If you are a current or former owner or lessee of a model-year 2009 to 2014 BMW vehicle
       with an “N63” engine, you could get benefits from a class-action settlement.
              A federal court has authorized this notice. This is not a solicitation from a lawyer.

•       A nationwide settlement has been reached in a class action lawsuit against BMW of North America,
        LLC and Bayerische Motoren Werke Aktiengesellschaft involving certain model-year 2009 to 2014
        BMW 5 series, 6 series, 7 series, X5, and X6 vehicles equipped with an N63 engine.

•       The Settlement provides an opportunity to be reimbursed for certain past expenses and to obtain free
        future benefits, which are explained more fully below.

•       Your legal rights are affected whether you act or don’t act, so please read this notice carefully.


         YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
    SUBMIT A CLAIM           Make a claim to receive the valuable             Claims must be submitted by
    FORM AND/OR              reimbursements for eligible past expenses        ________, 2018. See Question 8,
    TAKE YOUR CLASS          and benefits potentially available to you        below.
    VEHICLE TO AN            under the Settlement and/or take your            You may bring your Class
    AUTHORIZED BMW           vehicle to an authorized BMW Center for          Vehicle to a BMW Center and/or
    CENTER                   certain free services after the Settlement is    utilize the new vehicle discount
                             approved and/or utilize the new vehicle          voucher and free future oil
                             discount voucher and free future oil services    services vouchers after the
                             vouchers.                                        Settlement is approved. See
                                                                              Question 6, below.
    EXCLUDE                  Write to the Settlement Administrator to opt Requests for Exclusion must be
    YOURSELF                 out of the Settlement. This is the only option postmarked by ________, 2018.
                             that allows you to be part of any other        See Question 12, below.
                             lawsuit, or your own lawsuit, against the
                             Defendants about the legal claims released
                             in this Settlement.
    OBJECT                   Write to the judge about why you do not          Objections must be postmarked
                             like the Settlement.                             by ________, 2018. See Question
                                                                              17, below.
    GO TO A HEARING          Ask to speak in court to the judge about the     The Final Approval Hearing is
                             Settlement.                                      currently scheduled for ________,
                                                                              2018. See Question 19, below.
    DO NOTHING               Give up many of the benefits you may be          See Question 22, below.
                             entitled to under the Settlement and your
                             right to be part of any other lawsuit against
                             the Defendants about the legal claims
                             released by the Settlement.

         QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
               PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE
    Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 58 of 79 PageID: 1066



•        These rights and options -- and the deadlines to exercise them -- are explained in this notice.

•        The Court in charge of this case still must decide whether to approve the Settlement before any benefits
         can be distributed. Please be patient and check the settlement website for updates.

                                       WHAT THIS NOTICE CONTAINS

BASIC INFORMATION .......................................................................................PAGE
     1.   Why have I received this notice?
     2.   What is the lawsuit about?
     3.   Why is this a class action?
     4.   Why is there a Settlement?

WHO IS IN THE SETTLEMENT .......................................................................PAGE
    5.     How do I know if I am part of the Settlement? What vehicles
           are included in the Settlement?

THE BENEFITS: WHAT YOU GET ...................................................................PAGE
     6.   What are the benefits of the Settlement?
     7.   What am I giving up in exchange for the Settlement benefits?

HOW TO GET BENEFITS ................................................................................. PAGE
    8.   How do I get the benefits of the Settlement?
    9.   What if my claim is denied?
    10.  When will I get the benefits?

EXCLUDING YOURSELF FROM THE SETTLEMENT ...............................PAGE
    11.  Can I exclude myself from this Settlement?
    12.  If I exclude myself, can I get anything from this Settlement?
    13.  If I don’t exclude myself, can I sue later?
    14.  How do I exclude myself from the Settlement?

THE LAWYERS REPRESENTING YOU .........................................................PAGE
     15. Do I have a lawyer in the case?
     16. How will the lawyers be paid?

OBJECTING TO THE SETTLEMENT ............................................................PAGE
     17. How do I tell the Court if I don’t like the Settlement?
     18. What’s the difference between objecting and excluding?

THE COURT’S FINAL APPROVAL HEARING .............................................PAGE
     19. When and where will the Court decide whether to approve the Settlement?
     20. Do I need to go to the hearing?
     21. May I speak at the hearing?



           QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
                  PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                                    2
      Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 59 of 79 PageID: 1067

WHAT IF I DO NOTHING? ................................................................................PAGE
    22.    What happens if I do nothing?

GETTING MORE INFORMATION ..................................................................PAGE
     23. Are there more details about the Settlement?

 1.       Why have I received this notice?

A Court has authorized this notice because you have a right to know about the proposed settlement of this class-
action lawsuit, and your options, before the Court decides whether to give “final approval” to the Settlement.
This notice explains the lawsuit, the proposed Settlement, and your legal rights. You have received this notice
because BMW’s records indicate that you are a current or former owner or lessee of a model-year 2009-2014
BMW 5 series, 6 series, 7 series, X5, or X6 vehicle equipped with an N63 engine purchased or leased in the
United States or Puerto Rico.

Judge Madeline Cox Arleo of the United States District Court for the District of New Jersey is overseeing this
class-action lawsuit, known as Bang, et al. v. BMW of North America, LLC and Bavarian Motor Works, Civil
Action No. 2:15-cv-06945 (the “Action”). Joon Bang, Razvan Victor Bengulescu, Gerald Bezems, Scott
Crockett, Rifat Gorener, Christopher Lesieur, Lawrence Marcus, and Mikhail Suleymanov, the people who
sued, are called the “Plaintiffs,” and the companies that were sued, BMW of North America, LLC (“BMW
NA”), and Bayerische Motoren Werke Aktiengesellschaft (“BMW AG”), are called the “Defendants.”

 2.       What is the lawsuit about?

This lawsuit involves model-year 2009-2014 BMW 5 series, 6 series, 7 series, X5, and X6 vehicles equipped
with N63 engines that were purchased or leased in the United States or Puerto Rico (the “Class Vehicles”). The
lawsuit alleges that the Class Vehicles consume excessive amounts of engine oil, requiring additional oil
changes and the need for adding engine oil between regular oil changes, as well as substantial battery drain
potentially causing premature battery failure. BMW AG, which manufactures BMW vehicles, and BMW NA,
which distributes and warrants BMW vehicles in the U.S., deny these allegations and stand behind and support
their products.

 3.       Why is this a class action?

In a class action, one or more people called “Class Representatives” assert claims on behalf of people who have
similar claims. All of these people are the “Class” or “Class Members.” One court resolves the issues for all
Class Members, except for those who timely exclude themselves from (or “opt out” of) the Class. The Class
Representatives in the Action are the Plaintiffs identified above. You have received this notice because you
have been identified as potentially being a Class Member.

 4.       Why is there a Settlement?

All parties have agreed to a Settlement to avoid further cost and risk of a trial, and so that the people affected
can begin getting benefits in exchange for releasing the Defendants from liability for the claims that were raised
or could have been raised in the Action involving the Class Vehicles’ alleged engine oil consumption and
battery failure issues. The Settlement does not mean that the Defendants broke any laws, or otherwise did
anything wrong, because Judge Arleo did not decide which side was right. The Class Representatives and the

           QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
                 PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                                   3
      Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 60 of 79 PageID: 1068

lawyers representing them think the Settlement is fair and reasonable for the Class.

 5.       How do I know if I am part of the Settlement? What vehicles are included in the Settlement?

The Settlement Class includes all persons or entities in the United States and Puerto Rico who currently own or
lease, or previously owned or leased, certain U.S. specification model-year 2009-2014 BMW 5 series, 6 series,
7 series, X5, or X6 vehicles equipped with an N63 engine purchased or leased in the United States or Puerto
Rico, which include the following vehicles:

               Model Year Designation               Production Range                   Model Designation
                   2009 to 2012                      3/2009 to 6/2012           7 Series Sedan (F01 & F02)
                   2010 to 2013                      4/2010 to 6/2012           7 Series Active Hybrid (F04)
                   2010 to 2012                      3/2010 to 7/2013           5 Series Gran Turismo (F07)
                   2010 to 2013                      3/2010 to 7/2013           5 Series Sedan (F10)
                   2011 to 2012                      3/2011 to 7/2012           6 Series Convertible (F12)
                   2011 to 2012                      7/2011 to 7/2012           6 Series Coupe (F13)
                   2010 to 2013                      3/2010 to 6/2013           X5 SAV (E70)
                   2009 to 2014                      7/2008 to 6/2014           X6 SAV (E71)
                   2009 to 2012                      9/2009 to 9/2011           X6 Active Hybrid SAV (E72)

Please note that not all vehicles in the model years identified above contained the N63 engine at issue in the
Action. You have received this notice because BMW’s records indicate that you have or had a BMW vehicle
with an N63 engine. If you’re not sure whether you are included in the Settlement Class, you may call (toll-
free) [to be inserted] with questions.

 6.       What are the benefits of the Settlement?

If Judge Arleo grants final approval of the Settlement and the Settlement becomes effective (the “Effective
Date”), you may be entitled to some or all of the following benefits.

A.       Reimbursement for Past Expenses

Class Members may be eligible for reimbursement of various expenses related to excessive engine oil
consumption and premature battery failure.

         i.       Reimbursement for Past Oil Services

Class Members are eligible to receive reimbursement for the cost (not to exceed $75 each) of up to 3 past Oil
Services on a Class Vehicle if:

                  a.     The amounts were actually paid by the Class Member at the time of Oil Service as
                         evidenced by a repair invoice; and
                  b.     The Oil Service occurred prior to 10 years/120,000 miles from the Class Vehicle’s in-
                         service date; and
                  c.     The Oil Service took place less than 12 months/10,500 miles after a previous Oil Service
                         as evidenced by the repair invoice of the prior Oil Service and the invoice for the Oil
                         Service for which reimbursement is sought.

              QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
                  PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                          4
   Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 61 of 79 PageID: 1069

In the alternative, Class Members may elect to receive one (1) free future Oil Service in lieu of reimbursement
for each qualifying past Oil Service, in addition to the future free Oil Services provided below (see Answer
6.B.ii).

       ii.     Reimbursement for Past Oil Purchases for up to 7 Quarts of Oil Purchased Between Oil Services

Class Members are eligible to receive reimbursement of the cost (up to $10 per quart) of up to seven (7) quarts
of oil that the Class Member purchased between oil services prior to the Effective Date if:

               a.     The oil was of the same type and grade specified for the Class Vehicle in the owner’s
                      manual or on the vehicle, as evidenced by proof of purchase, repair order, or service
                      invoice; and
               b.     At least one (1) prior oil-consumption complaint about the Class Vehicle was
                      communicated to BMW NA or an authorized BMW Center, as confirmed by a repair
                      order, Customer Relations Report, or other written documentation of an oil-consumption
                      complaint to BMW NA or to one of its authorized BMW Centers; and
               c.     The Class Vehicle had fewer than 10 years and 120,000 miles at the time of oil
                      purchase(s) as evidenced by required proofs, for example, service records from before
                      and/or after oil purchase.

       iii.    Reimbursement for Towing/Rental/Roadside-Assistance Service

Class Members are eligible to receive reimbursement up to $50 for the cost of one (1) towing/ rental/ roadside
assistance incurred by Settlement Class Members because of an excess oil consumption or premature battery
failure issue if:

               a.     the Class Vehicle was towed to an authorized BMW Center or a third-party repair facility
                      as evidenced by a repair/service invoice; and
               b.     the Class Member repair/service invoice states that the towing/rental/roadside-assistance
                      service was related to an excess oil consumption or a premature battery failure issue.

       iv.     Reimbursement for Past Replacement of a Battery that Was Less than 3 Years Old

Class Members are eligible to receive reimbursement for the cost of one (1) replacement of a 90 Ah or 105 Ah
battery purchased prior to the mailing of the Class Notice, where the Class Member provides proof that (a) the
Class Member purchased a new battery, (b) the replaced (discharged) battery was less than 3 years old, and
(c) the replacement (new) battery was purchased outside the 4 year/50,000 mile New Vehicle Limited Warranty
period.

                                                *      *       *

Limitations: Defendants do not warrant or guarantee any repairs performed at third-party (non-BMW) repair
shops and, should any such repairs fail after a Settlement Class Member has made a claim under the Settlement,
the Settlement Class Member will not be entitled to submit an additional claim.

In order to obtain reimbursement for eligible past expenses, you must submit a Claim Form and include all of
the documentation described above and identified on the Claim Form.


         QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
               PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                        5
     Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 62 of 79 PageID: 1070

B.      Service Campaign for Class Vehicles

If you currently own or lease a Class Vehicle, you may be eligible for service credits and other relief going
forward (after the Effective Date).

        i.       N63 Customer Care Package

Defendants have already made available at no cost to current owners and lessees of Class Vehicles the “N63
Customer Care Package” (described in BMW Service Information Bulletin SI B11 06 14) intended to eliminate
or reduce excess engine oil consumption and premature battery failure. The N63 Customer Care Package is
available regardless of the age or mileage of a Class Vehicle; however, each Class Vehicle is entitled to receive
the N63 Customer Care Package only once. If you’re unsure whether the N63 Customer Care Package has been
performed on your Class Vehicle, you can contact your local BMW Center or BMW NA Customer Relations (at
800-831-1117). When contacting your BMW Center or BMW NA Customer Relations, please have your Class
Vehicle’s Vehicle Identification Number (“VIN”) available. (The VIN can be found on the metal plate at the
bottom of the driver’s side front windshield or on your sale or title documents.)

If your Class Vehicle has not yet received the N63 Customer Care Package, you may schedule an appointment
to take it to your local BMW Center to have it performed at no cost.

        ii.      Three (3) Free Future Oil Services

Current owners or lessees of Class Vehicles will receive 3 future Oil Services (up to $75 per Oil Service) on a
Class Vehicle performed at a BMW Center during the earlier of 10 years or 120,000 miles from the in-service
date of the Class Vehicle. A voucher for those future Oil Services is included with this package. The Oil
Services will become available after the Settlement is effective.

        iii.     Oil-Consumption Testing

If, during the earlier of the first 10 years or 120,000 miles that a Class Vehicle has been on the road, but in no
event less than 1 year or 12,000 miles from the Effective Date, the Class Vehicle’s “Low Oil” light illuminates
before the Condition Based Service (“CBS”) Indicator or the “oil service” light comes on, BMW will provide
up to three (3) Oil-Consumption Tests per Class Vehicle at a BMW Center at no cost to the then-current owner
or lessee of a Class Vehicle. The Oil-Consumption Test will help to determine whether the Class Vehicle is
consuming an excess amount of oil. BMW will provide the applicable repairs, including diagnosis, at no charge
to correct a failed Oil-Consumption Test, up to the earlier of 10 years or 120,000 miles from the Class Vehicle’s
in-service date at the time of the failed Oil-Consumption Test.

        iv.      Engine Replacement

Class Members who are then-current owners or lessees of Class Vehicles may be eligible to receive one (1)
replacement engine, which will include the cylinder heads, per Class Vehicle during the earlier of 10 years or
120,000 miles from a Class Vehicle’s in-service date, if:

                 a.     the N63 Customer Care Package (described in Service Information Bulletin SI B11 06
                        14) has been performed on the Class Vehicle; and
                 b.     the Class Vehicle thereafter fails two (2) Oil-Consumption Tests; and
                 c.     BMW cannot completely resolve the excess oil consumption issue after the second failed

             QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
                 PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                         6
     Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 63 of 79 PageID: 1071

                       Oil-Consumption Test and second repair attempt; and
               d.      the Class Vehicle is then brought back to a BMW Center for an Oil Consumption issue
                       and the BMW Center confirms that there in fact remains an Oil Consumption issue; and
               e.      the Class Member agrees to “contribute” to the total replacement cost of the engine
                       (inclusive of parts and labor) as follows:

                       Odometer Miles at the time of          Customer            BMW
                      Return to a BMW Center for an          Contribution      Contribution
                       Oil-Consumption Issue After
                      Second failed Oil-Consumption
                      Test and Second Repair Attempt
                    50,001            60,000                5%               95%
                    60,001            70,000                15%              85%
                    70,001            80,000                30%              70%
                    80,001            90,000                45%              55%
                    90,001            100,000               60%              40%
                    100,001           110,000               75%              25%
                    110,001           120,000               90%              10%
                    120,001           above                 100%             0%

Note: If a Class Vehicle is brought to a BMW Center and BMW, in its discretion, determines not to attempt to
make a repair related to excess oil consumption, but instead to replace the engine due to the excess oil
consumption, the Class Member will have the option for an engine replacement but must agree to contribute to
the total replacement cost of the engine (inclusive of parts and labor) in the percentage associated with the
odometer mileage of the Class Vehicle at the time BMW determines to recommend replacing the engine rather
than attempting to repair it as set forth in the chart above.

        v.     Replacement Battery

For Class Vehicles that can be retrofitted with a 105Ah battery, BMW will provide the Settlement Class
Member who is a current owner or lessee with one (1) new 105Ah battery to replace the 90Ah battery if they
did not previously receive a replacement battery, and, thereafter, 105Ah replacement batteries at a BMW
Center, if the 105Ah battery fails within two (2) years of installation (not due to customer negligence) as
evidenced by a prior invoice for replacement of the battery.

For Class Vehicles with a 90Ah battery (as of the Settlement Class Notice Date), that cannot accommodate the
105Ah battery, BMW will provide the Settlement Class Member who is a current owner or lessee with 90Ah
replacement batteries at a BMW Center, if any such battery fails within two (2) years of installation (not due to
customer negligence) as evidenced by a prior invoice for replacement of the battery.

C.      New Vehicle Credit Voucher

Included with this Notice is a voucher good for $1,500 towards the purchase or lease of a new BMW 6 or 7
Series vehicle or $1,000 towards the purchase or lease of any other new BMW vehicle. The voucher will be
transferable to immediate family members (children, parents, and siblings) and will be valid for one (1) year
from the Effective Date of this Settlement.


          QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
               PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                        7
      Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 64 of 79 PageID: 1072

                                                *        *      *


As part of the claims-confirmation process, a claim for reimbursement will be rejected if: (1) the Vehicle’s
warranty was voided because (a) the VIN has been altered or cannot be read, (b) the Vehicle has been declared
a total loss or sold for salvage purposes (for reasons unrelated to excess oil consumption or premature battery
failure issues), or (c) the Vehicle has been used in any competitive racing event (this does not include non-
driving events where the Vehicle is on display); (2) the VIN number associated with the claim does not match
the Settlement Class Member’s VIN number; or (3) the claim for reimbursement is (a) for an item or service
that is not covered under this Settlement Agreement, or (b) for which a claim under this Settlement Agreement
has already been made and paid, or (c) for which the Class Member has received “goodwill” or other cost/price
adjustment, coupon, reimbursement, or refund from BMW NA, a BMW Center, insurer or any person or entity
associated with Defendants, equal to or in excess of the amount of the claim submitted.

 7.       What am I giving up in exchange for the Settlement benefits?

If the Settlement becomes final, Class Members will be releasing Defendants and related people and entities
from all of the claims described and identified in Section VII.A of the Settlement Agreement. In essence, the
claims released by Class Members are all claims (except for personal injury or damage to property other than
the Class Vehicle) that could arise based on excess engine oil consumption or premature battery failure in the
Class Vehicles. The Settlement Agreement is available at www.[to be inserted].com. The Settlement
Agreement describes the released claims with specific descriptions, in necessarily accurate legal terminology,
so read it carefully.

Judge Arleo has appointed specific lawyers to represent you in this lawsuit and Settlement. You can talk to one
of the lawyers listed in Answer 15 below, free of charge, if you have questions about the released claims or
what they mean. You can also speak with your own lawyer, should you have one, about this Settlement.

 8.       How do I get the benefits of the Settlement?

If you are a Class Member and the N63 Customer Care Package has not yet been performed on your vehicle,
you can schedule an appointment with your local BMW Center to have it performed.

If are a Class Member and would like to obtain the other Service Campaign benefits described in Answer 6.B.,
above, you can do so after the Effective Date of the Settlement by making an appointment for the Service
Campaign with an authorized BMW Center in your area. The Effective Date is thirty (30) days after Judge
Arleo gives final approval of the Settlement, unless an appeal is filed, in which case it may be longer.

If you are a Class Member and would like to obtain the reimbursement benefits (described in Answer 6.A.,
above), you need to complete the Claim Form that accompanies this Notice and mail or email it, with all the
required proofs, to the address provided on the Claim Form. Additional Claim Forms are available at www.[to
be inserted].com. The current deadline for submitting Claim Forms is _____, 2018.

You may use the Future Oil Services and New Vehicle Discount vouchers included with this Notice after the
Effective Date. The Effective Date is thirty (30) days after Judge Arleo gives final approval of the Settlement,
unless an appeal is filed, in which case it may be longer.

These benefits are also subject to limitations, which are discussed in the answer to Question 6.
          QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
                PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                         8
      Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 65 of 79 PageID: 1073



If you have any questions on how to complete the Claim Form or what information is needed, you can call the
following toll-free number: [to be inserted].

 9.       What if my claim is denied?

There is a process in the Settlement Agreement to resolve disagreements between you and Defendants over your
claim. During this process, the court-appointed lawyers listed in the answer Question 15 below will represent
you in any dispute regarding relief under the terms of the Settlement, and the dispute will be handled in
accordance with the procedures set forth in the Settlement Agreement. You may have the right to appeal any
denied claim to a Special Master. If you have questions regarding this process, visit www.[to be inserted].com
to see a copy of the Settlement Agreement, or contact Class Counsel below.

 10.      When will I get the Settlement benefits?

      1) If you have submitted a claim, your Claim Form will be processed and payments will be issued on a
         continuing, rolling basis after the Effective Date.

                              Please be patient, and feel free to check the website or
                         call the toll-free phone number listed above for current status.

      2) If your vehicle hasn’t yet received the N63 Customer Care Package, you can contact your BMW Center
         to have it performed at any time.

      3) After the Effective Date, you can schedule an appointment with your BMW Center for Oil-Consumption
         Testing and, if required, engine replacement.

      4) The free Future Oil Services (described in Answer 6.B.ii, above) and New Vehicle Discount vouchers
         (described in Answer 6.C., above) included with this Notice will be valid after the Effective Date.

 11.      Can I exclude myself from this Settlement?

Yes. If you want to keep the right to sue or if you are already suing Defendants in another action over the legal
issues in this case, then you must take steps to opt out of this Settlement. This is called asking to be excluded
from – sometimes called “opting out” of – the Settlement.

 12.      If I exclude myself, can I get anything from this Settlement?

No. If you ask to be excluded, you cannot object to the Settlement and you will not receive any of the benefits
of the Settlement, other than the N63 Customer Care Package described in Answer 6.B.i., above. But you may
sue, continue to sue, or be part of a different lawsuit against Defendants in the future, including for claims that
this Settlement resolves. You will not be bound by anything that happens in this lawsuit.

 13.      If I don’t exclude myself, can I sue later?

No. Unless you exclude yourself, you give up the right to sue Defendants for the claims that this Settlement
resolves.

           QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
                PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                          9
   Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 66 of 79 PageID: 1074


 14.    How do I exclude myself from the Settlement?

To exclude yourself from the Settlement, you must send a letter by mail saying that you want to be excluded
from Bang v. BMW of North America, LLC, Case No. 2:15-cv-06945-MCA-SCM. Be sure to include: (1) your
full name and current address; (2) the model-year and VIN of your Class Vehicle(s) and the date(s) of
purchase/lease; (3) specifically and clearly state your desire to be excluded from the Settlement and from the
Settlement Class; and (4) your signature. You cannot ask to be excluded over the phone or via the internet.
You must mail your request to be excluded, postmarked no later than ______, 2018, to the Settlement
Administrator at the address below:

                                                Bang Settlement
                                                PO Box XXXX
                                          City, State XXXXX-XXXX

Failure to comply with any of these requirements for excluding yourself may result in you being bound by this
Settlement.

 15.    Do I have a lawyer in the case?

The Plaintiffs and you have been represented by a number of lawyers and several law firms that have
prosecuted this case together. Judge Arleo has appointed the following lawyers to represent you and other Class
Members as “Class Counsel”:

Matthew D. Schelkopf                                    David C. Wright
Joseph G. Sauder                                        Richard D. McCune
Joseph B. Kenney                                        McCune Wright Arevalo, LLP
McCune Wright Arevalo, LLP                              3281 East Guasti Road, Suite 100
555 Lancaster Avenue                                    Ontario, California 91761
Berwyn, Pennsylvania 19312                              Telephone: (909) 557-1250
Telephone: (610) 200-0581                               Facsimile: (909) 557-1275
Facsimile: (610) 421-1326                               dcw@mccunewright.com
mds@mccunewright.com                                    rdm@mccunewright.com
jgs@mccunewright.com
jbk@mccunewright.com

Eric D. Barton
Sarah Ruane
Melody Dickson
Wagstaff & Cartmell LLP
4740 Grand Avenue, Suite 300
Kansas City, Missouri 64112
816-701-1100
ebarton@wcllp.com
mdisckson@wcllp.com


You will not be charged for these lawyers. If you want to be represented by another lawyer, you may hire one
to appear in Court for you at your own expense.
         QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
              PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                      10
   Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 67 of 79 PageID: 1075



 16.    How will the lawyers be paid?

As part of the resolution of the Action, Class Counsel and Defendants have agreed that Class Counsel may
apply for an award of attorneys’ fees, costs, and expenses not to exceed $3,022,000.00, as well as service
awards to the eight Plaintiffs in the amount of $3,500.00 ($28,000.00 in total). Defendants have agreed not to
oppose this request. The Parties have also agreed that Class Counsel will not seek payment of any amount in
excess of $3,022,000.00 for attorneys’ fees, costs, and expenses as well as service awards to the eight Plaintiffs
in the amount of $3,500.00 ($28,000.00 in total) if awarded by Judge Arleo. The Class Counsel fees and
expenses, as well as the service awards to the class representatives, will be paid separate and apart from any
relief provided to the Class and will not reduce the value of the benefits distributed to Class Members.
Defendants will also separately pay the costs to administer the Settlement. Judge Arleo will determine the
amount of attorneys’ fees, costs, and expenses and service awards after evaluating Plaintiffs’ submission.

 17.    How do I tell the Court if I don’t like the Settlement?

You can object to the Settlement if you don’t like some part of it. You can give reasons why you think Judge
Arleo should not approve it. To object, send a letter saying that you object to the Settlement in Bang v. BMW of
North America, LLC, Case No. 2:15-cv-06945-MCA-SCM. You must include: (1) your full name, current
address, current telephone number, and the name of your lawyer and your lawyer’s address if you are
represented by a lawyer other than Class Counsel; (2) the model year and VIN of your Class Vehicle(s) and the
date(s) of purchase or lease; (3) the reasons why you object and the factual and legal reasons for your objection
(including all relevant documents that pertain to your objection); (4) copies of relevant repair history or other
proof that the objector has owned or leased the Class Vehicle (i.e., a true copy of a vehicle title, registration, or
license receipt); (5) a statement that you have reviewed the Settlement Class definition and understand that you
are a Settlement Class Member, and you have not opted out of the Settlement Class; (6) a detailed list of any
other objections to any class action settlements you submitted to any court, whether state, federal, or otherwise,
in the United States in the previous five (5) years; (7) a Notice of Intention to Appear at the Final Approval
Hearing if you intend to appear in person at the hearing; and (8) your signature. The objection must be mailed
to the Court, the Claims Administrator, Class Counsel, and Defendants’ Counsel at the below addresses.
The mailed copies must be postmarked on or before _________, 2018:

COURT         Clerk of Court
              United States District Court for the District of New Jersey
              Rev. Dr. Martin Luther King, Jr. Federal Building & U.S. Courthouse
              50 Walnut Street
              Newark, New Jersey 01702
CLAIMS        Claims Administrator
ADMINISTRATOR Bang Settlement
              PO Box XXXX
              City, State XXXXX-XXXX
CLASS COUNSEL Matthew D. Schelkopf                            Eric D. Barton
              Joseph G. Sauder                                Melody Dickson
              Joseph B. Kenney                                Wagstaff & Cartmell LLP
              McCune Wright Arevalo, LLP                      4740 Grand Avenue, Suite 300
              555 Lancaster Avenue                            Kansas City, MO 64112
              Berwyn, Pennsylvania 19312

         QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
               PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                         11
   Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 68 of 79 PageID: 1076


DEEFENDANTS’           Christopher J. Dalton
COUNSEL                Daniel Z. Rivlin
                       Buchanan Ingersoll & Rooney PC
                       550 Broad Street, Suite 810
                       Newark, New Jersey 07102-4582

 18.    What’s the difference between objecting and excluding?

Objecting is simply telling Judge Arleo that you don’t like something about the Settlement. You can object
only if you stay in the Settlement. Excluding yourself is telling Judge Arleo that you don’t want to be part of
the Settlement. If you exclude yourself, you have no basis to object because the Settlement no longer affects
you.

 19.    When and where will Judge Arleo decide whether to approve the Settlement?

Judge Arleo will hold a “Final Approval Hearing” to decide whether to approve the Settlement on _______,
2018 at ____ a.m., at the United States District Court for the District of New Jersey, Rev. Dr. Martin Luther
King, Jr. Federal Building & U.S. Courthouse, 50 Walnut Street, Newark, New Jersey 07102. At this hearing,
Judge Arleo will determine whether the Settlement is fair, adequate, and reasonable and whether the objections
by Class Members, if any, have merit. If you have filed an objection on time, you may attend and ask to speak,
but you don’t have to. However, Judge Arleo will only listen to people who have asked to speak at the hearing
(See Question 21 below). At this hearing, Judge Arleo will also decide the service awards for the Class
Representatives, as well as the attorney’s fees for the lawyers representing the Class Members. We do not
know how long the Court’s decision will take, and the hearing date may change due to other court business.
You should monitor www.[to be inserted].com.to find out if any dates have changed and to learn if Judge Arleo
has approved the Settlement.

 20.    Do I need to go to the hearing?

No. Class Counsel will answer any questions Judge Arleo may have, but you are welcome to come at your own
expense. If you send an objection, you don’t have to come to Court to talk about it. As long as you mail your
valid written objection on time, Judge Arleo will consider it. You may also pay another lawyer to attend, but
it’s not required.

 21.    May I speak at the hearing?

You may ask Judge Arleo for permission to speak at the Final Approval Hearing. To do so, you must file a
“Notice of Intent to Appear” in Bang v. BMW of North America, LLC, Case No. 2:15-cv-069-45-MCA-SCM.
Be sure to include your name, address, telephone number, signature, and other requirements outlined in Answer
17. Your Notice of Intent to Appear must be postmarked no later than ______, 2018, and mailed to the
addresses listed in Answer 17. You cannot speak at the hearing if you have excluded yourself from the
Settlement.

 22.    What if I do nothing?

If you do nothing, you will give up the right to be part of any other lawsuit against Defendants about the legal
claims released by the Settlement. You will be entitled to take your Class Vehicle to a BMW Center for the
Service Campaign benefits described in Answer 6.B., above. However, you will not receive any of the
         QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
               PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                        12
   Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 69 of 79 PageID: 1077

reimbursement benefits described in Answer 6.A offered by this Settlement unless you timely submit a Claim
Form.

 23.    Are there more details about the Settlement?

This notice summarizes the proposed Settlement. More details are in the Settlement Agreement. You can get
copies of the Settlement Agreement and related documents at www.[to be inserted].com. You may also write
with questions to [insert settlement administrator address]. You can also call the toll-free number,
_____________________________.




         QUESTIONS? CALL TOLL-FREE ____________OR VISIT www.[to be inserted].com
              PARA UNA NOTIFICACION EN ESPANOL, LLAMAR O VISITAR NUESTRO WEBSITE

                                                     13
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 70 of 79 PageID: 1078




                             EXHIBIT C
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 71 of 79 PageID: 1079




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

   JOON BANG, RAZVAN VICTOR                         No. 2:15-cv-6945 (MCA)(LDW)
   BENGULESCU, GERALD BEZEMS,
   SCOTT CROCKETT, RIFAT
   GORENER, CHRISTOPHER LESIEUR,                    CLASS ACTION
   LAWRENCE MARCUS, and MIKHAIL
   SULEYMANOV, individually and on
   behalf of others similarly situated,
                                                    JURY TRIAL DEMANDED
                      Plaintiffs,

         vs.

   BMW OF NORTH AMERICA, LLC,
   BAVARIAN MOTOR WORKS, and
   DOES 1 through 10, inclusive,

                      Defendants.

      [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF
                   CLASS ACTION SETTLEMENT

         WHEREAS, pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of

   Civil Procedure, the parties seek entry of an order preliminarily approving the

   settlement of this action pursuant to the settlement agreement fully executed on

   April 11, 2018 (the “Settlement Agreement” or “Settlement”), which, together with

   its attached exhibits, sets forth the terms and conditions for a proposed settlement

   of the Action and dismissal of the Action with prejudice; and

         WHEREAS, the Court has read and considered the Settlement and its

   exhibits, and Plaintiffs’ Unopposed Motion for Preliminary Approval;


                                             1
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 72 of 79 PageID: 1080




         NOW, THEREFORE, IT IS ON THIS _____ DAY OF ______, 2018,

   ORDERED THAT:

         1. This Order incorporates by reference the definitions in the Settlement,

   and all terms used in this Order shall have the same meanings as set forth in the

   Settlement.

         2. The Court preliminarily approves the Settlement as being within the

   realm of reasonableness to the Settlement Class, subject to further consideration at

   the Final Approval Hearing described below.

         3. Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court

   certifies, solely for purposes of effectuating the Settlement, the Settlement Class as

   follows:

                 All persons or entities in the United States, the District of
                 Columbia, and Puerto Rico who currently own or lease, or
                 previously owned or leased, model-year 2009 through
                 2014 BMW 5 Series, 6 Series, 7 Series, X5 or X6 vehicles
                 that contain the N63 engine. Excluded from the Class are:
                 Defendants, as well as Defendants’ affiliates, employees,
                 officers, and directors, attorneys, agents, insurers, third-
                 party providers of extended warranty/service contracts,
                 franchised dealers, independent repair/service facilities,
                 fleet owners and operators, rental companies and vehicles,
                 the attorneys representing Defendants in this case, the
                 Judges and Mediator to whom this case is assigned and
                 their immediate family members, all persons who request
                 exclusion from (opt-out of) the Settlement, vehicles
                 deemed a total loss, anyone claiming personal injury,
                 property damage other than to a Class Vehicle or
                 subrogation, all persons who previously released any


                                              2
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 73 of 79 PageID: 1081




                claims encompassed in this Settlement, and vehicles
                transported outside the United States.

         4. The Court appoints Matthew D. Schelkopf and David C. Wright of

   McCune Wright Arevalo, LLP and Eric D. Barton of Wagstaff & Cartmell LLP as

   Settlement Class Counsel for the Settlement Class. Any Settlement Class Member

   may enter an appearance in the action, at their own expense, either individually or

   through counsel. However, if they do not enter an appearance, they will be

   represented by Settlement Class Counsel.

         5. The Court appoints Plaintiffs Joon Bang, Razvan Victor Bengulescu,

   Gerald Bezems, Scott Crockett, Rifat Gorener, Christopher LeSieur, Lawrence

   Marcus, and Mikhail Suleymanov as Settlement Class Representatives.

         6. The Court preliminarily finds, solely for purposes of the Settlement,

   that: (a) the Settlement Class is so numerous that joinder of all Settlement Class

   Members in the Action is impracticable; (b) there are questions of law and fact

   common to the Settlement Class that predominate over any individual questions;

   (c) the claims of the Settlement Class Representatives are typical of the claims of

   the Settlement Class; (d) the Settlement Class Representatives and Settlement

   Class Counsel have and will continue to fairly and adequately represent and protect

   the interests of the Settlement Class; and (e) a class action is superior to all other

   available methods for the fair and efficient adjudication of the controversy. The

   Court also preliminarily finds that certification of the Settlement Class is
                                              3
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 74 of 79 PageID: 1082




   appropriate when balanced against the risks of continued litigation. It further

   appears that extensive and costly investigation, research, and discovery has been

   conducted such that counsel for the parties are reasonably able to evaluate the

   benefits of settlement, which will avoid substantial additional costs to the parties

   and reduce delay and risks associated with this action. It further appears that the

   Settlement has been reached as a result of intensive, arm’s-length negotiations

   using an experienced third-party neutral.

         7. The Court approves the form and content of the Claim Form (Exhibit A

   to the Settlement Agreement) and Settlement Class Notice (Exhibit B to the

   Settlement Agreement). The Court finds that the mailing of the Settlement Class

   Notice in the manner set forth in the Settlement, as well as the establishment of a

   settlement website and toll-free number, satisfies due process. The foregoing is the

   best notice practicable under the circumstances and shall constitute due and

   sufficient notice to all Settlement Class Members entitled to Settlement Class

   Notice. The Court authorizes the Parties to make non-material modifications to the

   Settlement Class Notice and Claim Form prior to publication if they jointly agree

   that any such changes are appropriate. Accordingly, the Court directs the

   following notice procedures to be effectuated on or before ____________ ____,

   2018 (sixty (60) days after the date of this Order):




                                               4
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 75 of 79 PageID: 1083




                a.    Individual direct mail (first class) notice regarding the

   Settlement will be sent to all current and former owners and lessees of Class

   Vehicles using BMW NA’s database and information from state motor vehicle

   agencies obtained by Experian Information Solutions, Inc. or similar provider;

                b.    Publication on a website to be established and maintained by

   the Settlement Administrator; and

                c.    The established of a toll-free telephone number.

         8. The Court appoints Rust Consulting as the Settlement Administrator.

   The Settlement Administrator is directed to perform all settlement administration

   duties set out in the Settlement Agreement, including establishing, maintaining,

   and administering a website dedicated to the Settlement which (i) will provide

   information about the Settlement including all relevant documents and (ii) will

   provide a means by which Settlement Class Members may submit their claims by

   U.S. Mail or email. At least ten days before the Final Approval Hearing, the

   Settlement Administrator will provide an affidavit to the Court attesting that

   Settlement Class Notice was disseminated in a manner consistent with the terms of

   the Settlement.

         9.     If Settlement Class Members do not wish to participate in the

   Settlement Class, they may exclude themselves. All requests to be excluded from

   the Settlement Class must be in writing, sent to the Settlement Administrator, and


                                             5
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 76 of 79 PageID: 1084




   postmarked on or before the Opt-Out Deadline, which is _______________ _____,

   2018 (one hundred and five (105) days after the date of this Order).

                a.     Any request for exclusion must (1) state the Settlement Class

   Member’s full name and current address; (2) identify the model year and Vehicle

   Identification Number (“VIN”) of his/her vehicle(s) and the date(s) of purchase or

   lease; and (3) specifically and clearly state his/her desire to be excluded from the

   Settlement and from the Settlement Class. No Request for Exclusion will be valid

   unless all of the information described above is included. All Settlement Class

   Members who exclude themselves from the Settlement Class will not be eligible to

   receive any monetary benefits under the settlement, will not be bound by any

   further orders or judgments entered for or against the Settlement Class, and will

   preserve their ability to independently pursue any claims they may have against

   BMW and other Released Persons.

         10.    Any Settlement Class Member who has not previously submitted a

   Request for Exclusion may object to the Settlement and appear at the Final

   Approval Hearing to support or oppose the approval of the Settlement Agreement.

   All objections and requests to appear at the Final Approval Hearing must be in

   writing and postmarked on or before ________________ ____, 2018 (one

   hundred and five (105) days after the date of this Order).




                                             6
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 77 of 79 PageID: 1085




                a.     The following information must be provided in the Settlement

    Class Member’s written objection: (1) his/her full name, current address, and

    current telephone number; (2) the model year of his/her Settlement Class

    Vehicle(s), as well as the VIN of his/her Settlement Class Vehicle(s) and the

    date(s) of purchase or lease; (3) a statement of the position(s) the objector wishes

    to assert, including the factual and legal grounds for the position; (4) provide

    copies of relevant repair history or other proof that the objector has owned or

    leased the Settlement Class Vehicle (i.e., a true copy of a vehicle title, registration,

    or license receipt); and (5) any other documents that the objector wishes to submit

    in support of his/her position and of any other documents that the objector wishes

    to submit in support of his/her position. To be valid, an objection also must

    include a detailed statement of each objection asserted, including the grounds for

    objection. In addition, any Settlement Class Member objecting to the Settlement

    must provide a detailed statement of any objections to any other class action

    settlements submitted in any court, whether state, federal, or otherwise, in the

    United States in the previous five (5) years. If the Settlement Class Member has

    not objected to any other class action settlement in any court in the United States

    in the previous five (5) years, he/she must affirmatively so state in the written

    materials provided in connection with the objection to this Settlement.




                                              7
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 78 of 79 PageID: 1086




               b.     All objections and requests to appear at the Final Approval

   Hearing must be sent to the Court as well as to: David C. Wright and Matthew D.

   Schelkopf, McCune Wright Arevalo, LLP, 555 Lancaster Avenue, Berwyn, PA

   19312; and Christopher J. Dalton and Daniel Z. Rivlin, Buchanan Ingersoll &

   Rooney PC, 550 Broad Street, Suite 810, Newark, NJ 07102.

         11. Any Settlement Class Member who does not object in the manner

   provided in this Order shall be deemed to have waived such objections and shall

   forever be foreclosed from objecting to the fairness, reasonableness, or adequacy

   of the proposed settlement and any judgment approving the settlement.

         12. The Court hereby schedules the Final Approval Hearing for

   _______________ _____, 2018 at _____________ a.m./p.m. (not less than one

   hundred and twenty (120) days after the date of this Order). The Final Approval

   Hearing will take place in Courtroom MLK 4A of the United States District Court

   for the District of New Jersey, Newark Division, Martin Luther King, Jr. Federal

   Building & U.S. Courthouse, 50 Walnut Street, Newark NJ 07101, to determine

   whether the proposed Settlement should be approved as fair, reasonable, and

   adequate, whether a judgment should be entered approving the Settlement, and

   whether Settlement Class Counsel’s application for attorneys’ fees and for

   incentive awards to the Settlement Class Representatives should be approved. The




                                            8
Case 2:15-cv-06945-MCA-SCM Document 87-3 Filed 05/04/18 Page 79 of 79 PageID: 1087




   Court may adjourn the Final Approval Hearing without further notice to Settlement

   Class Members.

         13. Settlement Class Members shall have until thirty (30) days after the date

   of the Final Approval Hearing to submit Claim Forms. Claim Forms must be

   postmarked by that date to be considered timely.




                                         Honorable Madeline Cox Arleo
                                         United States District Judge




                                           9
